         Exhibit 47

Deposition of Sondra Miltenberger
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1                          UNITED STATES DISTRICT COURT
2                          EASTERN DISTRICT OF MISSOURI
3                                EASTERN DIVISION
4
5       TNT AMUSEMENTS, INC., )
        d/b/a PLAY-MORE COIN-OP,                    )
6                                           )
                  Plaintiff,                    )
7                                           )
        vs.                                 )           No. 4:23-cv-00330-JAR
8                                           )
        TORCH ELECTRONICS, LLC,                     )
9       STEVEN MILTENBERGER, and                    )
        SONDRA MILTENBERGER,                    )
10                                          )
                  Defendants.          )
11
12
13
14
15
16
17
18         VIDEO-RECORDED DEPOSITION OF SONDRA MILTENBERGER
19                      TAKEN ON BEHALF OF THE PLAINTIFFS
20                               DECEMBER 8, 2023
21
22
23
24
25

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1                                  .oOo.
2
3                       VIDEO-RECORDED DEPOSITION OF WITNESS,
4       SONDRA MILTENBERGER, produced, sworn and examined
5       on the 8th day of December, 2023, at the offices of
6       Bryan Cave Leighton Paisner, 211 North Broadway,
7       Suite 3600, St. Louis, Missouri, before Tara
8       Schwake, a Registered Professional Reporter,
9       Certified Realtime Reporter, Certified Shorthand
10      Reporter (IL), Certified Court Reporter (MO), and
11      Notary Public within and for the State of Missouri.
12
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1       APPEARANCES
2
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1       COURT REPORTER:
2                  TARA SCHWAKE, CRR, RPR, CCR, CSR
3                  TIM PERRY, CLVS, Videographer
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6                  St. Louis, Missouri           63101
7                  (888) 391-3376
8                  calendar-midwest@veritext.com
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1                        IT IS HEREBY STIPULATED AND AGREED by
2       and between Counsel for Plaintiff and Counsel for
3       Defendants that this deposition may be taken by
4       Tara Schwake, Notary Public and Certified Realtime
5       Reporter, thereafter transcribed into typewriting,
6       with the signature of the witness being expressly
7       reserved.
8                                 * * * * *
9                   (Deposition commenced at 9:17 AM.)
10                       THE VIDEOGRAPHER:           Good morning.        We
11      are on the record at 9:17 on December 8, 2023.
12      This is media unit one of the video-recorded
13      deposition of Sondra Miltenberger taken by counsel
14      for Plaintiff in the matter of TNT Amusements,
15      Inc., versus Torch Electronics, LLC, et al., filed
16      in the US District Court for the Eastern District
17      of Missouri, Eastern Division, Case Number
18      4:23-cv-00330.
19                       This deposition is being held at
20      Bryan Cave Leighton Paisner at 211 North Broadway
21      in
22      St. Louis, Missouri.        And my name is Tim Perry,
23      Certified Legal Video Specialist.                  Our certified
24      court reporter is Tara Schwake.                  We are with
25      Veritext Legal Solutions.

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1                       And, Counsel, I would ask you now to
2       introduce yourselves for the record, please.
3                       MR. FINNERAN:            Richard Finneran on
4       behalf of Plaintiff, TNT Amusements, and
5       accompanied by my colleague, Mary Grace Warren.
6                       MR. CRAIG:         Aaron Craig on behalf of
7       Defendants.
8                       THE VIDEOGRAPHER:                 Thank you.   Tara,
9       please swear in the witness.
10                                  * * * * *
11                         SONDRA MILTENBERGER,
12      of lawful age, having been produced, sworn, and
13      examined on the part of the Plaintiffs, testified
14      as follows:
15                                EXAMINATION
16      QUESTIONS BY MR. FINNERAN:
17                 Q    Hello, Ms. Miltenberger, would you
18      please just state and spell your name for the
19      record?
20                 A    Sure, it's Sondra, and it's spelled
21      S-o-n-d-r-a, Miltenberger is spelled
22      M-i-l-t-e-n-b-e-r-g-e-r.
23                 Q    And that is your married name?
24                 A    Yes.
25                 Q    What's your maiden name?

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1                 A        Walther, W-a-l-t-h-e-r.
2                 Q        Okay.     And how long have you been
3       married to your husband?
4                 A        We just celebrated our 25th.
5                 Q        Congratulations.
6                 A        Thank you.
7                 Q        What's your husband's full name?
8                 A        Steven, S-t-e-v-e-n, and
9       Miltenberger, M-i-l-t-e-n-b-e-r-g-e-r.
10                Q        Great.     So we're going to -- I'm
11      going to go over some ground rules with you real,
12      real quick first.           I know that being deposed is not
13      a comfortable proposition for anybody, but my goal
14      is not to make this more uncomfortable than it has
15      to be.        So hopefully if we can agree on a few
16      ground rules, it'll just make it easier as we go
17      through the day.
18                A        Yes.
19                Q        So the first thing is that, as you
20      know, we've got a court reporter here who is
21      transcribing everything that we say.                  So it's
22      important for that reason we not talk over each
23      other.        It's really for her benefit because we want
24      to make sure there's a clear record.                  She'll yell
25      at us if we start doing it, but if we can try to

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1       remember to just, I ask a question, you give an
2       answer, I'll wait for your answer to be done before
3       I ask my next question and we'll just proceed in
4       that fashion.     Is that okay?
5                 A     Yes, sir.
6                 Q     Um, secondly, you know, it may be
7       that I ask a question that's confusing to you, or
8       doesn't make sense to you.             If that's the case,
9       you're welcome to ask the court reporter to repeat
10      it.    You're welcome to tell me you don't understand
11      and ask my to clarify and I'll do my best to do so.
12      But if you give me an answer to a question, then
13      I'm going to presume that means you understood the
14      question and you know what I'm asking for.
15                A     That's fine.
16                Q     Okay.    You also, any time you need to
17      take a break, you can take a break, you just need
18      to say "Can we take a break" and you and your
19      attorney can step out and speak during the
20      deposition any time you like.               The only exception
21      to that rule is you can't do that while a question
22      is pending.     So if I've asked you a question, you
23      need to give an answer to the question before we
24      take the break.
25                A     Okay.    Yes, sir.

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1                 Q     And finally, I'm going to be asking
2       you about, you know, communications you've had with
3       people and conversations you've had with people.
4       One conversation I'm never interested in is a
5       conversation you've had with any of your attorneys.
6                 A     Okay.
7                 Q     So if I ask you a question that calls
8       you -- calls for you to have to answer it by
9       revealing a communication with your attorney, you
10      need to say, "I'm sorry, the only communications
11      I've had about that are with my attorney," or
12      something along those lines, and that way we'll
13      move on from that.
14                A     Okay.
15                Q     We're not trying to invade your
16      privilege with your lawyer.              That's your right, and
17      so we're not trying to get into that.
18                A     Yes, sir.
19                Q     Does that all make sense?
20                A     Mm-hmm.
21                Q     Okay.     If you have any questions in
22      the process, you know, we can always take a break
23      and you can talk with your lawyer, so.
24                A     Okay.
25                Q     Again, I'm trying to make this as

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1       -- as comfortable as it can be under the
2       circumstances.
3                 A     Mm-hmm.      Thank you.
4                 Q     So first, have you ever been deposed
5       before?
6                 A     No.
7                 Q     Okay.     Well, then I guess those were
8       all new ground rules for you.               Have you ever
9       testified in a courtroom before?
10                A     No.
11                Q     Have you ever given any testimony
12      under oath orally?
13                A     No.
14                Q     Okay.     All right.          You're the first
15      person I've had the chance to depose from Torch or
16      affiliated with Torch and so a lot of my questions
17      in the beginning at least are going to be very
18      basic questions, I think.
19                A     Okay.
20                Q     Obviously, if you don't know the
21      answer to a question, you can just tell me you
22      don't know the answer.
23                      But why don't we start by just
24      telling me what is your role, as you would describe
25      it, at Torch Electronics?

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1                 A     Um, I do the accounting work and --
2       basic accounting and the -- the payroll for Torch
3       Electronics.
4                 Q     Okay.     Do you have a title?
5                 A     Um, no.      Um, that's basically just
6       the way to put it.        Steven's wife.           Um, I would --
7       I would say just that.          There's no reason for a
8       title to me actually.
9                 Q     That's fair.         Do you have your
10      signature block on your emails or your letters --
11      you don't have --
12                A     Yeah, I do.        I do.       Just, you know,
13      my name and then "Torch Electronics" and then
14      "accounting/payroll," so.
15                Q     Okay.
16                A     And it's really basic accounting.
17      It's not, you know, we -- it's not -- I don't do
18      the big stuff, you know.           It's just basic.
19                Q     And can you describe to me what you
20      mean by that?     So when you say the basic versus the
21      big stuff, where do you -- tell me what you do and
22      what you don't do?
23                A     What I don't do is I don't do our
24      taxes, our income taxes.           And I -- that's basically
25      that part of the big part.             The smaller part is

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1       like bank reconciliations and accounts payable.
2                 Q      Okay.
3                 A      Yeah.
4                 Q      Is that the entirety of your role,
5       then, is accounts payable and -- and accounting?
6                 A      Mm-hmm.
7                 Q      Do you have any -- sorry, is that a
8       yes or a no?
9                        (Simultaneous speaking - inaudible.)
10                Q      (BY MR. FINNERAN)              You got to say yes
11      or no for the record.
12                A      Oh, I'm sorry, yes.                Yes.
13                Q      Do you -- do you have any involvement
14      with sales?
15                A      No.
16                Q      Any involvement with marketing?
17                A      No.
18                Q      Do you communicate with the
19      customers?      I say "customers," let me define that.
20      The people who you place devices with, do you --
21                A      No.
22                Q      -- typically have communications with
23      them?
24                A      No.
25                Q      Okay.     And please don't talk over me

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1       when I'm asking the question.                   Again, it's fine.
2       We just got to get used -- we got to get in that
3       rhythm so we don't drive her crazy all day.
4                           Okay.     So then tell me how, um, how
5       you first came to be involved in Torch, was it at
6       the very beginning, and tell me the story of how
7       Torch came to be, if it was.
8                 A         Um, goodness.          Um, Steven and I just
9       been through a lot and I want to just -- basically
10      2015, 2016, Steven started the business.                     Um, I
11      actually was -- and I didn't talk this over with
12      Aaron, but I was -- I was a direct sales for 31,
13      it's actually -- it's an independent sales company
14      like Mary Kay and all that.
15                Q         Mm-hmm.
16                A         And I did that for about six or seven
17      years, and then I seen we were growing and he
18      needed assistance and I've worked with Steven
19      before.         Actually, we've worked together all of our
20      marriage.         And so then I started helping him
21      probably '17 -- 2017, 2018, and then that was --
22      that's where I kind of started.                    So.   Yeah.    Yeah.
23                Q         Okay.     Um, so you said that when the
24      business first started, you didn't have any
25      involvement in it then; is that what I understood

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1       your answer to be?
2                 A     No, but -- no.
3                 Q     Oh.     No, you did not have any
4       involvement or --
5                 A     No, I didn't have any involvement,
6       yeah.
7                 Q     Okay.     So, and you said it was
8       probably then around 2017 where you started to
9       become involved?
10                A     Yes, sir.
11                Q     Okay.     Do you have an ownership
12      interest in the business?
13                A     No.
14                Q     How -- who owns Torch?
15                A     Steven --
16                Q     A hundred percent?
17                A     -- Miltenberger, my -- my husband.
18      Yes.
19                Q     Okay.     And make sure we don't talk
20      over each other.        So that's partly my fault, but
21      I'll try to do better.
22                A     Sorry.
23                Q     Okay.     Do you have any people, then,
24      -- well, first of all, let me ask this.            Does Torch
25      have any employees other than yourself and your

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1       husband?
2                 A     No.
3                 Q     Am I correct everybody else is
4       considered an independent contractor?
5                 A     Yes, sir.
6                 Q     Okay.     Given that, are there any
7       people that you would say report to you among the
8       independent contractors where you're their
9       supervisor or their direct report?
10                A     No.
11                Q     Okay.     So you don't handle the
12      accounting of the taxes, I heard.                  So who is your
13      accounting firm that you -- your outside accounting
14      firm, or do you have one?
15                A     We do.     Actually, they are here based
16      in St. Louis.     It's Wolff and Taylor.
17                Q     Okay.
18                A     Yeah.
19                Q     And can you spell Wolff for me?
20                A     Wolff is spelled W-o-l-f-f, and
21      Taylor.
22                Q     Okay.     And Taylor with a T-a-y-l-o-r?
23                A     Yes.     Yes.
24                Q     Okay.     All right.          So then just maybe
25      describe for me on a day-to-day basis, as of today,

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1       what would your day-to-day work look like for Torch
2       in general?
3                 A     Oh, goodness.          I -- basically just
4       making sure that the bank reconciliations, um, you
5       know, I work on those, and -- gosh.                Paying the
6       bills, um, and, um, I don't know.
7                 Q     Okay.     That's a good enough answer
8       for the moment.        So then what's Steven's title with
9       Torch; do you know?
10                A     Well, he's basically the manager
11      because it's an LLC.
12                Q     Mm-hmm.
13                A     So it's not a incorporated business.
14                Q     Right.
15                A     So.
16                Q     So manager is his title?
17                A     Yes.
18                Q     Do you know if he also holds the
19      title of president?
20                A     Yeah, I mean it's there but it's --
21      most of the time legal wise, legally, it's manager.
22                Q     Okay.
23                A     So, yeah, I mean with it being an LLC
24      far as --
25                Q     Mm-hmm.      Okay.       We just discussed a

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1       moment ago what your job duties are today.                     Are
2       those similar to what your job duties would have
3       been at the beginning and all the way through, or
4       have they changed over time?
5                 A       Um, I don't remember.              I don't
6       remember.       It's just been just -- yeah.              I don't
7       remember.
8                 Q       Okay.     Do you take a salary from
9       Torch?
10                A       Yes.
11                Q       And what is your salary?
12                A       4,000 -- 4,500.             4,500 a week.
13                Q       And has that been the case that
14      you've taken a salary throughout your time with
15      Torch?
16                A       Yes.
17                Q       Has the amount of the salary changed?
18                A       No.
19                Q       Okay.     Do you -- do you have any
20      additional commissions or bonuses that are
21      available to you?
22                A       No.
23                Q       Okay.     You said that Steven's the
24      manager of the business.               Are you a manager of the
25      business?

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1                 A        No.
2                 Q        Okay.     All right.           That covers some
3       of this.        Okay.     So you said that the other
4       individuals are independent contractors.                    Is there
5       any hierarchy among the independent contractors in
6       terms of is there someone who supervisors a group
7       of them or anything like that?
8                 A        No.
9                 Q        Okay.     Can you tell me the kind of
10      roles the independent contractors generally carry
11      out?
12                A        Basically they -- we have locations
13      and they basically just audit the -- audit the
14      locations and that's really all I know.                    Steven --
15      Steven handles the majority of that.
16                Q        Okay.     But you --
17                A        Actually all of that.
18                Q        But you also do the payroll; right?
19                A        Yes.
20                Q        And that's for everybody in the
21      company?
22                A        Yes.
23                Q        Okay.     So are you aware of
24      salespeople as well?
25                A        Am I aware of salespeople?

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1                 Q     Yeah, who are independent contractors
2       for Torch?
3                 A     You mean for -- like they are
4       salespeople but they're independent contractors?
5                 Q     I guess maybe does Torch retain
6       anybody as an independent contractor who does a
7       sales function?
8                 A     No.
9                 Q     No.     Does Torch retain anybody who --
10      who does a sort of customer relations function?
11                A     No.
12                Q     Okay.     So when you say that they
13      audit the locations then, can you describe to me
14      what you mean by that?
15                A     Um, basically it's just they, you
16      know, they go into the locations, there may be like
17      four, um, machines in there, and then they
18      basically, you know, once a week, sometimes more
19      but not usually, but they basically just go in and
20      -- and basically balance the numbers and then, um,
21      we give the location half of the revenue that those
22      machines have take -- have made and then we take
23      the other half.
24                Q     Okay.     When you say "balance the
25      numbers," what are they -- what are they reviewing

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1       or looking at to, quote, "balance the numbers"?
2                 A     Basically little slips of paper that
3       are printed off from the machines and then the cash
4       that's put into the machine.              They make sure those
5       numbers balance each other, like they equal each
6       other basically, yeah.
7                 Q     Mm-hmm, right, okay.               Do they review
8       any of the records of the -- the location itself,
9       so the register at the -- at the location?
10                A     No.
11                Q     Okay.    Has that been true throughout
12      the time period we're talking about?
13                A     Yes.
14                Q     Okay.    Maybe I'll skip ahead a little
15      bit because we're getting onto one of the topics I
16      wanted to cover, and I'll come back to that in a
17      moment then.
18                      So you mentioned the idea that
19      there's a 50/50 split of revenue with the
20      locations; is that correct?
21                A     Yes.
22                Q     Is that uniform throughout Torch's
23      business?
24                A     Yes.
25                Q     Are you aware of any circumstances

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1       where a higher or a lower percentage of the returns
2       have been agreed to?
3                 A      No.
4                 Q      Okay.    So help me understand, then,
5       how that is sort of happens on a -- on a -- just a
6       very basic basis.        If the machine is collecting
7       money and money is being fed into the machine, does
8       the location owner have the ability to take money
9       out of the machine?
10                A      No.
11                Q      Okay.    So it would be these -- what
12      should we call these individuals who audit the
13      locations?      What's the term you use to refer to
14      them?
15                A      We just call them auditors.
16                Q      Auditors.
17                A      Yeah.
18                Q      Okay.    So Would an auditor then be
19      the one to go to the location to remove the money
20      from the machine?
21                A      Yeah.
22                Q      And when you say that the money is
23      split with the location owners or location
24      managers, is it -- does that happen on site?          They
25      literally just take half the cash and hand it to

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1       the manager --
2                 A     Yes.
3                 Q     -- and then you take the other half?
4                 A     Yes.
5                 Q     Yes, okay.         Are there any records
6       kept of how much money was earned by each of the
7       machines?
8                 A     I don't know.
9                 Q     Are there any records kept of how
10      much money is paid out to those individual
11      amusement location proprietors?
12                A     I don't know.
13                Q     Okay.     That's not part of the
14      accounting function that you serve?
15                A     No.
16                Q     Okay.     Are you aware of anybody else
17      in the company who might -- might be aware of
18      whether there are records of those transactions?
19                A     I don't know.
20                Q     Okay.     And I said in the company, so
21      I have to ask again, are you aware of any
22      independent contractor who might be aware of
23      records of that sort?
24                A     I don't know.
25                Q     Okay.     You said that they balance the

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1       machines and you said that there's slips of paper.
2       Can you describe what you meant by the slips of
3       paper?
4                 A     Um, well, you know, like a receipt
5       that you would get from like a retail store.                 It's
6       basically just a little bit smaller than that and
7       it just prints like what went in and what was --
8       what came out and what was paid to the -- the
9       player.
10                Q     Okay.
11                A     Yeah.
12                Q     And so this is a single slip of paper
13      the machine would produce to say here's what
14      happened since the last time --
15                A     Yes.
16                Q     Okay.     Let's talk then about how the
17      players get paid.        So if a player plays the game
18      and wins money, how are they paid?
19                A     It's different everywhere.
20                Q     Okay.     Well, give me one -- one
21      version of how it works.
22                A     Well, basically on the spot.
23      Basically, you know, there's agreement with the
24      location and Torch Electronics, and then they
25      basically just pay them right there.               So.

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1                 Q        When you say "they pay them right
2       there," who pays them?
3                 A        I'm sorry, the auditor.               The store
4       manager.        The store manager.
5                 Q        Okay.
6                 A        Yeah.
7                 Q        Just to be clear, not the auditor?
8                 A        No, not the auditor.               We were talking
9       about that for a second and then -- but no, it's
10      the store manager.
11                Q        Yeah, and I get it, but since we're
12      on the record, I want to make sure that your answer
13      is clear.        It's the store manager, not the auditor?
14                A        Yes.
15                Q        That's correct?
16                A        Yes, sir.
17                Q        Okay.    So the store manager then
18      would pay them using money from the machine or
19      money from the register or some other source?
20                A        I don't know.
21                Q        Okay.    When the machine does pay out
22      a prize to a player, do they receive a voucher and
23      then hand that to the store manager or does the
24      machine itself dispense money or is it some other
25      system?

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1                 A     Um, the store manager.             Will end up
2       giving them, yeah.
3                 Q     So how does the store manager know
4       how much to give them?
5                 A     Usually it's on the ticket, and then
6       there's like a little QR code that kinda verifies
7       that that really is what came out of the machine.
8                 Q     Okay.
9                 A     Yeah.
10                Q     Has that basic procedure been
11      consistent throughout Torch's existence, or has
12      that changed over time?
13                A     That's what it's been, yes, sir.
14                Q     Okay.    All right.           Let me just make
15      sure that I hit those points now.
16                      All right.        We may come back to some
17      of that as we go forward, but I just, since we were
18      on the topic, I wanted to try to cover it.
19                      So going back to the other
20      independent contractors that Torch works with, you
21      say these are auditors.           How are the auditors
22      compensated?
23                A     How are they paid for, is that what
24      you're asking?
25                Q     Mm-hmm, yes.

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1                 A        They basically turn in a sheet every
2       week, and then I process -- process it with the
3       payroll.        Like when Steven and I and then the
4       auditor will -- they email it to me, and then we
5       kinda -- well, we review it and then, and we know
6       what they're doing, so just review it and then,
7       basically I put into the Paychex and they get
8       direct deposited and that's pretty much it.
9                 Q        Okay.     When you say "into Paychex,"
10      is that the program Paychex?                   Or is that -- when
11      you say --
12                A        Paychex like ADP being like a payroll
13      company, Paychex is a payroll company and that's
14      what I mean, yeah.           Yeah.
15                Q        Yeah, and that's -- is that spelled
16      P-a-y-c-h-e-x; is that right?
17                A        Yes, sir.
18                Q        Okay.     And So you say that the way
19      that would work, then, is you would put it into
20      that system and then Paychex, the company, would
21      issue a direct deposit through the Federal Reserve
22      system basically --
23                A        Right.
24                Q        -- to that person's bank account; is
25      that correct?

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1                 A        Correct.      Yes.       Correct, sir.
2                 Q        Okay.     You said that they turn in a
3       sheet.        What -- what do they have to tell you on
4       the sheet in order to validate their right to be
5       paid?
6                 A        Basically, well, they're service
7       calls, so they put service calls on there, and then
8       they put, um, um, and then they put where they've
9       been.     Like which location.              And that's really it.
10      So.     Yeah.
11                Q        Okay.     Are they paid on an hourly
12      basis?
13                A        No.     They're paid per machine.         Like
14      if they go into a location, if there's four in
15      there?
16                Q        Mm-hmm.
17                A        They get paid a set amount for each
18      machine that they audit.
19                Q        Understood.
20                A        Yes.
21                Q        Okay.     And you said something about
22      service calls as well?
23                A        Yes.
24                Q        What is a service call?
25                A        If a bill is jammed, if a ticket is

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1       jammed, if -- yeah.        That's -- that's what a
2       service call.     Yeah.
3                 Q     Okay.     And they also get paid on a
4       per service call basis?
5                 A     Yes.    Yes.
6                 Q     Okay.     And so when you say they get
7       paid on a per machine basis, is it fair to say that
8       they get paid either per audit or per service call?
9                 A     Per -- per audit and --
10                Q     Per machine --
11                A     -- service call, if it applies.
12                Q     Okay.
13                A     Yes.
14                Q     Okay.
15                A     Yeah.
16                Q     So if there's four machines in a
17      location, one needs service and all four need to be
18      audited, they would submit a ticket to you that
19      would say I audited four machines, I serviced one,
20      and then that would determine how much they were
21      paid?
22                A     Yes, sir.
23                Q     Okay.     Other than independent
24      contractors or auditors, do you also have vendors
25      for example who work with you on marketing issues?

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1                 A     No.
2                 Q     Do you pay any outside companies that
3       are not your auditors to do anything for you?
4                 A     No.
5                 Q     Obviously you pay attorneys to help
6       you with attorney matters; correct?
7                 A     Yes.
8                 Q     Okay.    And there's no one else like
9       that in the world of marketing where you have paid
10      a company to help you with, you know, a marketing
11      flyer or a communication or a website, nothing of
12      that sort?
13                A     I don't know.
14                Q     Okay.    These auditors that you
15      mentioned, do they have technical expertise to be
16      able to actually access the software of the
17      machines?
18                A     Can you reword that?
19                Q     Yeah, I'll try repeating it and then
20      if it doesn't make sense --
21                A     Yeah, or repeat it, yeah.
22                Q     -- you can ask for clarification.
23                      Do the auditors have technical
24      expertise to interface or work with the software of
25      the machine, or they -- or do they only have the

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1       ability to fix a bill acceptor or some sort of, you
2       know, mechanical issue?
3                       MR. CRAIG:        Object to form,
4       speculation.     You can answer if you know.
5                 Q     (BY MR. FINNERAN)             Okay.   You can
6       answer.
7                 A     No.
8                 Q     No -- I asked two different
9       possibilities, so which one is it?                 They don't have
10      technical expertise with software?
11                A     They do not have technical expertise,
12      no.
13                Q     With software.           Okay.     Are you aware
14      of auditors ever making modifications to the
15      software of the machines?
16                A     No.
17                Q     Okay.    How familiar are you with the
18      software of the machines?
19                A     I don't know anything about it.
20                Q     Okay.
21                A     To be honest, I don't -- I mean, I
22      will just tell you point blank.
23                Q     That's fair.         I may ask you some more
24      questions to make sure that we're on the same page
25      about that.

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1                 A     That's too much.
2                 Q     That's understandable.            And I don't
3       expect you to be an expert at everything or have
4       the answer to every question --
5                 A     Right.
6                 Q     -- but I have to -- until I ask the
7       question, I don't know.
8                 A     I understand.
9                 Q     Right.   Okay.       So we'll maybe come
10      back to that in a moment.          Let's just talk about
11      the way you conduct your business.               So do you make
12      frequent use of email in the course of your
13      business?
14                A     You mean I myself or --
15                Q     You personally, yes.
16                A     Oh.   Yes.    Yes.
17                Q     And what sort of emails would you be
18      regularly sending and to whom?
19                A     Oh, it could be anywhere from Paychex
20      because an employee needed something or um, um, you
21      know, or an employee, if they needed something, or
22      if, um, that's -- that's really it, yeah.
23                Q     And when you say employee, just to be
24      clear, you mean --
25                A     Not employee.        I mean contractor.

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1                 Q       Yeah.
2                 A       I meant contractor.
3                 Q       And I totally understand you might
4       use that term colloquially.                 It doesn't --
5                 A       Yeah.
6                 Q       -- I think matter for our case
7       whether we call them employees or not, but I just
8       want to be clear, that's who you're referring to
9       when you say employees?
10                A       Yes.     Yes.
11                Q       Okay.     How about the telephone?            Do
12      you frequently use the telephone while you're
13      engaged in your work?
14                A       No.
15                Q       Okay.     And I wasn't clear in that
16      question.       I was thinking about talking on the
17      telephone.       But do you also sometimes text message
18      in connection with your work?
19                A       No.
20                Q       You never text message in connection
21      with your work?
22                A       No.
23                Q       Okay.     Do you never use the
24      telephone?       Or rarely use the telephone?
25                A       Yeah, for our children.

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1                 Q     I'm sorry.         In connection with your
2       work.
3                 A     No.
4                 Q     No, you don't ever use the telephone?
5                 A     I do not ever use the phone for Torch
6       Electronics.
7                 Q     Okay.     Do you have occasion during
8       your work for Torch Electronics where you have to
9       mail things?     Put things in the US Mail?
10                A     Yeah, we're -- I had mentioned I do
11      the accounts payable, so basically mailing those.
12                Q     Okay.
13                A     Mailing those checks, yeah.
14                Q     And do you typically use the US Mail
15      or FedEx or UPS or some other service, or does it
16      vary?
17                A     United States Postal Service.
18                Q     Okay.     I'm sorry, I just need to --
19      these may seem like very, very basic questions but
20      I just need to ask these questions.
21                      So what means of communication then
22      do you use in the context of your business other
23      than email, if any?
24                A     Email.
25                Q     Okay.     Do you ever use Zoom?

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1                 A     No.
2                 Q     Do you ever have videoconferences in
3       connection with your business?
4                 A     No.
5                 Q     Do you ever use WhatsApp in
6       connection with your business?
7                 A     No.
8                 Q     Do you ever use Slack in connection
9       with your business?
10                A     No.     I never heard of that.     No.
11                Q     Okay.     We got to ask because we don't
12      know until we know; right?
13                A     Never heard of that one.
14                Q     Have -- do you ever use Signal in
15      connection with your business?
16                A     No, sir.
17                Q     And do you ever use Facebook
18      Messenger?
19                A     No.
20                Q     Any other social media service do you
21      use in connection with your business?
22                A     No.
23                Q     Are you aware of a company called
24      Banilla?
25                A     Yes.

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1                 Q     And can you tell me what Banilla is?
2                 A     Banilla is our main vendor for our
3       machines in the locations.
4                 Q     Okay.     When you say "vendor," what do
5       you mean?
6                 A     Um, "vendor" means we're paying them
7       for the machines.       I mean, you know, that's only
8       way I can look at it, is it's they're a vendor, you
9       know.
10                Q     So in other words, do you buy the
11      machines from Banilla?
12                A     Yes.
13                Q     You don't rent or lease the machines?
14                A     Um, no.
15                Q     So the owner of each of the machines
16      is Torch?
17                A     Yes.
18                Q     And likewise, with respect to the
19      amusement locations that we've talked about, when
20      the devices are placed in those locations, are you
21      leasing the devices to the owners, or are they
22      still owned and operated by Torch?
23                A     They're owned and operated by Torch.
24                Q     Okay.     How do Banilla's machines get
25      to you when they -- when you buy a machine?         Are

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1       they shipped?        Are they picked up?              How do they get
2       to you?
3                 A        They are basically out of Wisconsin
4       and North Carolina, so they are shipped to --
5       shipped to us, yes.
6                 Q        And when I say "to you," where are
7       they shipped specifically?
8                 A        In the, um, Chesterfield Valley.
9       Basically.        We have a shop there and they, you
10      know, come in a big truck.                I'll be honest, I've
11      never seen it happen but probably once, but yeah,
12      that's usually how they get down there is they come
13      from there and then they are dropped off at our
14      shop in the Valley.
15                Q        Okay.    And then -- and I grew up out
16      there, so I know exactly where you're talking
17      about.        How do then those devices get from your
18      shop to any particular location where you are
19      placing them?
20                A        That's where the, um -- well, that's
21      where the auditor kind of slack (sic) technician,
22      and I can go back on the technician part if you
23      want me to, but they end up, the technicians load
24      them on a truck and then they basically take them
25      to a location.        But -- that Steven has acquired.

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1                 Q        Okay.
2                 A        Yeah.
3                 Q        And you said auditors --
4                 A        Are Torch, I should say.           Sorry.
5                 Q        Yeah.    I think you may have misspoke.
6       you said You said "auditors slack technicians."
7       Did you mean slash technicians?
8                 A        Slash, yeah.
9                 Q        Okay.    So I said --
10                A        Yeah, my mouth is dry.
11                Q        -- I said slack a moment ago and I
12      get I guess got the word in your head.                 So yeah,
13      come back to me then on the idea of technicians.
14      Who were the technicians?
15                A        Okay.    The technicians basically are
16      just strictly -- they're paid like a contractor,
17      because they're 1099s, but they service our
18      locations also, and that's all they -- that's all
19      they do.        They don't go into the location and audit
20      the machines.        They are just technicians that work
21      -- well, that are contracted by Torch Electronics
22      and that's when they go in and fix the -- like the,
23      you know -- if it need be, go to that location and
24      fix it, with a bill jam or the -- there's the
25      receipt jam.

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1                 Q       Okay.
2                 A       Yeah.
3                 Q       So is it that there are some people
4       who are just technicians, some who are just
5       auditors, and some who are both, or how does that
6       -- how does that divide?
7                 A       Some are just technicians, some are
8       just auditors, but then some are both.
9                 Q       Great, that's helpful.             And so who
10      would be responsible, then, for initially
11      installing a machine at a location?
12                A       Our technicians.
13                Q       Okay.
14                A       Yes.
15                Q       And is that a -- as far -- you may
16      not know.       Is that a complicated process?             What is
17      involved in setting up a machine the first time?
18                A       I don't know.
19                Q       Okay.
20                A       Yeah.
21                Q       Let's talk about the arrangements
22      that you then have with the specific locations.                   So
23      you mentioned the idea there is a 50/50 split of
24      the revenue.       Is that correct?
25                A       Yes.

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1                 Q     Are there any written agreements that
2       you have with locations memorializing that division
3       of -- of revenue?
4                 A     I don't know.
5                 Q     How is -- how is that agreement
6       reached with the locations, then, if it's -- if you
7       don't know if it's in writing.                Do you know how, if
8       these are verbal agreements?
9                 A     I don't know.
10                Q     Have you ever seen a contract with a
11      location relating to the payment of money from a
12      Torch device?
13                A     I can't remember.
14                Q     Okay.    Are there any scenarios where
15      instead of the location owner paying the player who
16      wins playing a game, that the payment is instead
17      made by Torch directly to the player?
18                A     I don't know.
19                Q     Do you recall any circumstances over
20      the course of your time with Torch where Torch has
21      made a payment directly to a player?
22                A     I don't know.
23                Q     Okay.    Are there -- does Torch own
24      any payment kiosks that are separate from the
25      amusement games?

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1                 A       I don't know.
2                 Q       Let me -- I'll try and ask a
3       different way and you can tell me if it makes sense
4       and you may still not know.
5                         But we mentioned earlier that players
6       can take a voucher, go to the counter, and get paid
7       that way.       Does Torch have any locations where
8       instead of going to a counter to get paid, they
9       would go to a automated kiosk, insert the voucher,
10      and be paid by a machine?
11                A       I don't know.
12                Q       Okay.    Do you know if Torch offers
13      any trainings to location owners about how to
14      manage the machines or operate the machines?
15                A       Yes.    It's been -- yes.
16                Q       What do you know about that?
17                A       Well, because when you asked that, I
18      was thinking, it just went back in my head.                   Um,
19      couple months ago we acquired a new company and
20      gave them training, offered -- gave them training
21      basically on how everything works.                   And, um, yeah.
22                Q       You said "gave them training."              Are
23      you referring to the amusement location
24      proprietors?       That's who you gave the training to?
25                A       We gave the training to the -- the

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1       business.       The convenient store business.
2       Convenient store owners is what I'm trying to say.
3                 Q       So can we agree those people are your
4       customers?       Is that how you refer to them, or is
5       there another better way we can agree on to refer
6       to those locations?
7                 A       I don't know.
8                 Q       Well, we just need to pick a word.
9       Can I call them "the locations"?                     Is that a fair
10      way to refer to them?
11                A       Sure.
12                Q       Okay.     So you're saying that you
13      recently acquired a company and then gave training
14      to locations about how to operate and use the
15      machines?
16                        MR. CRAIG:         Object to form.
17                Q       (BY MR. FINNERAN)              You may answer.
18                A       Can you reword that, please?
19                Q       Yes.
20                A       Not reword it, repeat it.
21                Q       Yeah, I'm going to try to phrase it
22      in a way so that it's clearer.
23                        You mentioned a moment ago that you
24      acquired a company.           What was the name of that
25      company?

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1                 A         I don't know.
2                 Q         Can you tell me what that company did
3       or does?
4                 A         They have convenient stores.         That's
5       all I know.
6                 Q         I guess I'm a little confused.
7       Sorry, I think I misunderstood what you said
8       before.         So, um, you say the company that Torch
9       acquired.
10                A         Uh-huh.
11                Q         Owns convenient stores?
12                A         No.
13                Q         No.     Okay.      What do you mean then
14      when you say "They have convenient stores"?
15                A         This company has convenient stores.
16      We don't have convenient stores.
17                Q         Right.
18                A         Torch Electronics doesn't have
19      convenient stores.
20                Q         When you say "have," you mean Torch
21      Electronics does not own convenient stores?
22                A         No.     No.
23                Q         No, it does not?
24                A         No, it does not.
25                Q         Okay.     This other company, though,

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1       does own convenient stores?
2                 A       Yes.
3                 Q       And then Torch acquired this other
4       company?
5                         MR. CRAIG:       Object to form.        Just to
6       be clear, I think "acquired" is the -- you need to
7       ask her --
8                 Q       (BY MR. FINNERAN)            Okay.   What do you
9       mean by -- and thank you, Aaron.
10                        What do you mean by acquired?
11                A       If I said "acquired," I'm not sure
12      why I did, but they basically -- we basically um --
13                Q       I don't want to interrupt you but is
14      it somebody that you hired?
15                A       No.    Basically Torch --
16                Q       Well, tell me what you do now and
17      we'll see if we can figure it out together.
18                A       We basically -- okay, so let's say
19      there's QuikTrip, let's just say that I'll use as
20      an example.       So Steven was in, you know,
21      communication with them -- and QT is not the
22      customer.       I'm just using them as an example.
23                Q       I understand.
24                A       So Steven was in communication with
25      them and has put machines in their locations now.

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1                 Q     Okay.
2                 A     Does that make sense?
3                 Q     Yes.    That makes sense.
4                 A     Okay.     That's what I am trying to
5       say.
6                 Q     Okay.     I totally misunderstood your
7       earlier testimony.
8                 A     I'm sorry.        I can't imagine what it
9       sounds like, but...
10                Q     I'm sure it's totally my
11      misunderstanding, so thank you for clarifying it.
12      And again, one of my goals is that we mutually
13      understand each other.          That's why I'm asking these
14      questions.
15                A     Mm-hmm, understand.
16                Q     So thank you for helping to clarify
17      that.     So you're just -- what you're saying is that
18      there's a recent new set of locations that Torch
19      has -- has started to work with let's just say?
20                A     Mm-hmm.
21                Q     And in that scenario, some training
22      was offered to those -- to those locations?
23                A     Correct.      Yes, sir.
24                Q     Okay.     Is that a new thing, or has
25      that happened historically as well in other

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1       situations?
2                 A     It's happened before, yeah.             Yeah,
3       it's happened before.         Sometimes when we, you know,
4       get a location, it's only like one or two.                This --
5       this one was fairly, you know, good size, so.
6       Yeah.
7                 Q     Okay.    What was the name of this
8       location, the new one?
9                 A     I don't know.
10                Q     Okay.    What sort of training do you
11      typically then provide to locations like this?
12                      MR. CRAIG:        Object to form.
13                Q     (BY MR. FINNERAN)             Or excuse me, does
14      the company typically provide to locations like
15      this?
16                A     I don't know.
17                Q     Were you present for any of these
18      trainings?
19                A     No.
20                Q     How did you hear about these
21      trainings?
22                A     Steven attended.
23                Q     Okay.
24                A     I mean Steven was in charge of it.
25                Q     Okay.    Does Torch charge any fee to

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1       the proprietors of locations for placing the
2       devices in their locations?
3                 A         No.
4                 Q         I think I know the answer but I'll
5       just confirm, does Torch lease space in the
6       locations from any of these owners?
7                 A         I don't know.
8                 Q         Okay.    How would you describe, then,
9       the kind of agreement that Torch has with any of
10      these locations in terms of placing a device there?
11      Is it a rental agreement?                Is it a loan of a
12      device?         How would you describe it?
13                A         I don't know.
14                          (Simultaneous speaking - inaudible.)
15                          MR. FINNERAN:          I'd like to mark this
16      as -- now, we've come up with a strange way to
17      label these exhibits.             We're doing Son M 1 to try
18      to distinguish you from your husband as we label
19      these exhibits, so don't be confused by that, but
20      we'll label this Son M 1 for identification.                     Copy
21      for you, Aaron.
22                          (Son M Exhibit 1 marked for
23      identification by the court reporter.)
24                          MR. FINNERAN:          Thank you.
25                Q         (BY MR. FINNERAN)             So I've just

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1       handed you a copy of what we've marked for
2       identification as Son M 1.             I will make a
3       representation to you as to what this document is.
4       This is a list of locations that your attorney and
5       I worked together to develop.
6                       These are locations where either we
7       agree that Torch and TNT have both had devices at
8       different points or the same point in time, or
9       there are a couple examples where I think there may
10      be a dispute about that, but at least TNT contends
11      that's the case.
12                      So, and I can point those out as we
13      go if we need to, but I just want you look down the
14      list that's in front of you and can you tell me if
15      you're familiar with all the locations on this
16      list, if any of them look unfamiliar to you?
17                      MR. CRAIG:        Object to form.
18                A     Am I familiar with any of them?
19                Q     (BY MR. FINNERAN)             Yes.
20                A     No.
21                Q     Do you not typically deal with any of
22      the location owners?
23                A     No.
24                Q     Okay.    So you're not familiar with
25      any of the people on this list then?

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1                 A         No.
2                 Q         Okay.     Thank you.
3                           (Simultaneous speaking - inaudible.)
4                           MR. CRAIG:        Are you at a good
5       stopping point?           I should have went to the restroom
6       before we started.
7                           MR. FINNERAN:          Yeah we can take a
8       short -- it's actually great.                   I've got to check
9       off things we talked about, so.
10                          MR. CRAIG:        Okay.       Does that work,
11      five minutes?
12                          MR. FINNERAN:          We can take a short
13      break.
14                          THE VIDEOGRAPHER:             Off the record at
15      9:57.
16                          (Off the record.)
17                          THE VIDEOGRAPHER:             We are back on the
18      record.         This is media unit number two, the time is
19      10:12.
20                Q         (BY MR. FINNERAN)             Okay.
21      Ms. Miltenberger, we're back on the record.                    First,
22      any time we take a break, I'll probably ask you if
23      there's anything you thought of over the break that
24      you feel you need to clarify or correct in your
25      prior testimony.            So anything of that sort?

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1                 A     I don't think so.             Thank you.
2                 Q     Okay.    I'm probably going to ask you
3       what may seem like a series of random questions
4       just because there were things we kind of skipped
5       over as we were talking and so they may not seem
6       like they're connected.           If you get disoriented,
7       just ask for a clarification.
8                       So we talked about your
9       responsibilities at Torch.             Can you describe your
10      husband's responsibilities and what he does?
11                A     Um, it's a lot.           Um, I would say
12      basic, you know, he's on the phone with, you know,
13      either customers or contractors or attorneys and
14      that, I mean, he's constantly, I mean, it's 7:00 to
15      -- AM to 10:00, 11:00 at night.                And customers also
16      meaning the customers that are in the store.                 And
17      our customers that we have machines with.
18                Q     So you're saying he communicates both
19      with proprietors of locations and players of games.
20      Is that what you mean?
21                A     The players of the games, no, they
22      like to call him, but that's kind of someone
23      else's, you know, to do and take care of that.                  But
24      I'm kinda confused about the proprietor part you
25      said first.

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1                 Q     When I say proprietor, I just mean
2       the person who operates a location --
3                 A     Oh, okay.
4                 Q     -- wherever you have it and --
5                 A     And he does.        He does, yes.         He has
6       talked to those locations, yes.
7                 Q     Would you say that he's principally
8       responsible for marketing Torch's products to new
9       locations?
10                      MR. CRAIG:       Object to form.
11                Q     (BY MR. FINNERAN)            You may answer.
12                A     The marketing I mean, yes.
13                Q     Would you say that he's principally
14      responsible for managing the relationships with any
15      of the locations where you have devices?
16                A     Yes.   Of course.
17                Q     What role, if any, does he have with
18      respect to collections?
19                A     Well, that's where the auditors came
20      in that we talked about earlier.                  I mean, they
21      deposit the money.      So, I mean, basically it's just
22      seeing it on the bank statement basically, and then
23      we kinda reconcile from that.              But he doesn't
24      really have the hands-on in the -- the cash, you
25      know, because we have those people that -- that are

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1       contractors for us.
2                 Q     Okay.     Is -- does Mr. Miltenberger
3       take a salary from Torch?
4                 A     Yes.
5                 Q     Do you know what his salary is?
6                 A     Yes.     It's 5,000 a week.
7                 Q     Okay.     Does he have any people who
8       directly report to him?
9                 A     Yes.     He has a -- he has a few, a
10      couple main guys and then they -- and then the
11      other people that are contractors for us, they
12      report to those guys.
13                Q     Okay.     And who are the main guys
14      you're referring to?
15                A     I don't know.
16                Q     Okay.     But you know there are two of
17      them?
18                A     Mm-hmm.
19                      MR. CRAIG:         Is that a yes?
20                Q     (BY MR. FINNERAN)              Sorry, was that a
21      yes?
22                A     Yes.
23                Q     You don't know either of their names?
24                A     No.
25                Q     Do you know their first names?

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1                 A     No.
2                 Q     Okay.     When you say that they report
3       to Mr. Miltenberger, how do they interact, to your
4       knowledge?
5                 A     Um, can you rephrase that?
6                 Q     Well, you said that they report to
7       him.     I'm asking what you mean by that.              What do
8       you mean by they report to him?
9                 A     Basically like, you know, what's
10      going on with the, you know, the other auditors
11      that are below them and, um, and just kind of, you
12      know, if they need assistance on something, or
13      whatever it may be.
14                Q     So then would it not be typical for
15      Mr. Miltenberger to communicate with the auditors
16      that report to these two gentlemen directly but
17      instead to communicate with these two gentlemen
18      directly?
19                A     That --
20                      MR. CRAIG:         Object to form.
21                A     That's the point, but it doesn't
22      happen that way all the time.
23                Q     (BY MR. FINNERAN)              So there are
24      exceptions where an auditor would be speaking with
25      Mr. Miltenberger directly?

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1                 A     Yes.
2                 Q     Okay.    Does Mr. Miltenberger receive
3       any commissions?
4                 A     No.
5                 Q     Does he receive any bonuses?
6                 A     No.
7                 Q     Is there any employee or independent
8       contractor of Torch who receives a commission?
9                 A     No.
10                Q     Does Torch have any parent company?
11      Is it owned by any other company?
12                A     No.
13                Q     Does it own any companies?
14                A     No.
15                Q     Does it have any subsidiaries?
16                A     No.
17                Q     Are there any other companies that
18      are affiliated with Torch Electronics in some other
19      way?
20                A     No.
21                Q     Okay.    I've seen an understanding
22      that there may be more an one Torch Electronics.
23      There may be a Torch Electronics that's
24      incorporated in Missouri, or that's an LLC in
25      Missouri, and then a Torch Electronics elsewhere.

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1       Do you have any information about that?
2                 A     I didn't even -- cross my mind.        I'm
3       in Missouri.     Didn't even think about it.        But yes,
4       Torch Electronics, Tennessee, yes.
5                 Q     And that's a separate corporation
6       from Torch Electronics, LLC, that's based in
7       Missouri?
8                 A     Yes.    It has a different federal ID,
9       yes.
10                Q     Okay.    And is there any -- does
11      Mr. Miltenberger also own the Tennessee
12      corporation?
13                A     Yes.
14                Q     Do you have any ownership interest in
15      that corporation?
16                A     No.
17                Q     Is it a corporation or an LLC, or
18      some other -- some other kind of corporate
19      structure?
20                A     It's an LLC.
21                Q     Okay.    You keep the accounting for
22      Torch Electronics, the Missouri company.           Do you
23      keep the accounting for Torch Electronics, the
24      Tennessee company?
25                A     Yes.

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1                 Q     You said they have different tax IDs?
2                 A     Yes.
3                 Q     Do you combine financials for the two
4       companies, or do you have separate financials?
5                 A     I don't take care of that part.
6       Wolff and Taylor does.
7                 Q     Okay.     Do you happen to know whether
8       Wolff and Taylor prepares joint or separate
9       financials for the two companies?
10                A     Separate financials, yes.
11                Q     Okay.     We talked a little bit about
12      the auditors.     What, if any, qualifications do
13      auditors typically have when they enter the job?
14                A     Um, most of our auditors -- most of
15      our auditors are retired policemen.                So they have
16      that, um, what do you call it, um -- that's
17      basically it.     I mean far as doing the audit work,
18      there's, you know -- like they're -- they're shown,
19      they're trained on it, so.
20                Q     Okay.     What about the technicians?
21      Do the technicians have any qualifications or
22      training before they start the job?
23                A     No.     Some might be retired, younger
24      policemen, or they were policemen, or they worked
25      on the SWAT Team, but that's -- but that's it.

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1                 Q         Okay.     Is there any reason that Torch
2       tends to recruit former police officers?
3                 A         No, they just want to work for
4       Steven.         Basically it just happens to be that way.
5       Some are not.         Some are, you know, just done with
6       their job or whatever, but the policemen is kind of
7       a safety thing when they go into locations and, I
8       mean, you're pulling cash out of a machine in North
9       County, so yeah.
10                Q         Mm-hmm.      Do you -- does Torch have
11      independent contractor relationships with any
12      current police officers, or only former police
13      officers?
14                A         Can you repeat that?
15                Q         Does Torch have any independent
16      contractor relationships with any current police
17      officers, or only retired or former police
18      officers?
19                A         I don't know.
20                Q         Okay.     We talked earlier about the
21      nature of the agreements that Torch Electronics
22      might have with proprietors of amusement locations,
23      and you told me that there's this 50/50 split
24      agreement.
25                          Are there any circumstances you're

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1       aware of where there had been disputes with
2       amusement location owners about the split?
3                 A     No.
4                 Q     Okay.    Are you aware of any records
5       that are kept by amusement location owners or
6       managers to reflect the amount of money paid out to
7       -- to Torch -- to players of the Torch machines?
8                 A     No.
9                 Q     Are you aware of whether there is any
10      reporting to the Internal Revenue Service, either
11      by Torch or by those proprietors, regarding
12      payouts?
13                A     Can you repeat that, please?
14                Q     Yeah, well, maybe we'll break it into
15      two.     Are you aware of any reporting by Torch to
16      the Internal Revenue Service about payouts to
17      players of the machines?
18                A     I don't know.
19                Q     Are you aware of any reporting by any
20      of the amusement location owners or managers to the
21      Internal Revenue Service about payouts from the
22      machines?
23                A     I don't know.
24                Q     Okay.    Are you aware of the
25      requirement to provide a 1099 or other form to

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1       somebody who receives more than $600 from a
2       business in the course of a calendar year?
3                 A      I don't know.
4                 Q      You're not -- are you not aware of
5       that?
6                 A      No.
7                 Q      Okay.     Do you know if Torch has ever
8       issued a 1099 to a player?
9                 A      No.     I mean, no, they haven't.     Yeah.
10                Q      Okay.     Do you know if Torch has ever
11      issued a 1099 misc, an M-I-S-C, to a player?
12                A      No.
13                Q      You don't know, or they have not?
14                A      They have not.
15                Q      Okay.     Do you know if Torch -- and
16      I'll stop with the do you know because that gets
17      confusing.      I'll just say has Torch ever issued a
18      W-2 to a player?
19                A      No.
20                Q      Has Torch ever issued a W-2G to a
21      player?
22                A      No.
23                Q      Has Torch ever issued a W-9 to a
24      player?
25                A      To a player, no.

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1                 Q     Okay.     There's also a new one
2       apparently called the 1099 NEC.                    Has Torch ever
3       issued such a form to a -- to a player?
4                 A     I know what you're talking about.
5       No.
6                 Q     Okay.     Has Torch issued any of the
7       forms that I've just mentioned to any amusement
8       location owners or operators?
9                 A     I don't know.
10                Q     Is that something that you typically
11      would have handled, or would that be handled by
12      your outside accounting firm if such tax forms had
13      to be issued?
14                A     Outside accounting firm.
15                Q     Okay.     I warned you I was going to
16      jump around a little bit.              Do you know who Grover
17      Gaming is?
18                A     Yes.     They are basically affiliated
19      with Banilla.     Don't ask me how, but I think that
20      they do maybe the part of the machine that Banilla
21      doesn't do and they do the basic cabinets and then
22      Grover does the -- and I'm probably wrong on this
23      but, of course, Steven will know.
24                Q     Yeah.
25                A     But that's all I really know about

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1       Grover.         Yeah.
2                 Q         Okay.    We talked earlier about how
3       Torch does not, from your understanding, employ any
4       independent contractors to do any marketing work.
5       How does Torch accomplish any marketing, if any?
6       What marketing does Torch do?                   Let me ask that.
7                           MR. CRAIG:        Objection, form.
8                 Q         (BY MR. FINNERAN)             What, if any,
9       marketing does Torch do?
10                          MR. CRAIG:        Same objection.          To the
11      extent you know based on your personal knowledge.
12                A         I don't know.
13                Q         (BY MR. FINNERAN)             Okay.     Do you have
14      an understanding of approximately how many Torch
15      devices there are in the State of Missouri?
16                A         No.
17                Q         Do you have a rough sense?
18                A         No.
19                Q         Do you believe it's more than ten?
20                A         Yeah.
21                Q         Okay.    Do you believe it's more than
22      a hundred?
23                A         I don't know.          I really don't.        Yeah.
24                Q         Okay.    Okay.       Um, I'm going to mark
25      another exhibit for identification.                       This is going

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1       to be Son M 2.          I'm not sure why we have it stapled
2       together.       Break it apart.          It's two copies of the
3       same thing.
4                         (Son M Exhibit 2 marked for
5       identification by the court reporter.)
6                 Q       (BY MR. FINNERAN)             Do you recognize
7       the document I've just put in front of you?
8                 A       Yes.
9                 Q       What is it?
10                A       Um, pretty much explains itself but,
11      um, I don't really know much about it.                   I mean it's
12      just basically just, you know, telling the customer
13      about the machine, so.            That's all I can say.         I --
14      I don't know any more.
15                Q       Do you understand this is a sticker
16      that is affixed to a Torch device?                   Is that where
17      you've seen it before?
18                A       Yes.
19                Q       Okay.     Are you aware of whether the
20      language of these stickers has changed over time?
21                A       No.
22                Q       You don't know one way or the other
23      or you --
24                A       I don't know that it's changed over
25      time.

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1                 Q     Okay.     Do you believe it has changed?
2                 A     No.     I do not believe it's changed.
3                 Q     Okay.     Did you have any role in
4       drafting any of this language on this decal?
5                 A     I do not.        I did not.
6                 Q     Did you have any role in reviewing
7       the language on this decal at any point?
8                 A     No, I did not.
9                 Q     Okay.     Can you, just in your own
10      words, explain to me what you understand the
11      purpose of this decal to be?
12                      MR. CRAIG:         Object to form, calls for
13      expert testimony, speculation.                 You can answer.
14                Q     (BY MR. FINNERAN)              You may answer if
15      you know.
16                A     I don't know.
17                Q     Okay.     Do you know who created the
18      language on this decal?
19                A     No.
20                Q     Do you know when this decal was
21      created?
22                A     The beginning of the LLC, or
23      beginning of Torch Electronics-Missouri.
24                Q     So -- yes.         So in and around what
25      time, what year would that be?

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1                 A     '15, '16?
2                 Q     Okay.
3                 A     2015, 2016, I should say.             Sorry.
4                 Q     Have you -- have you read a sticker
5       like this before?
6                       MR. CRAIG:        Object to form.
7                 A     No, I -- no.
8                 Q     (BY MR. FINNERAN)             You said you --
9                 A     Huh?
10                Q     You said you've seen a sticker like
11      this before?
12                A     No, I mean I haven't really looked
13      for a sticker like this before, but I don't have a
14      -- no.
15                Q     Maybe I'll just ask then.             You said
16      you did recognize the document.                Where do you
17      recognize it from?
18                A     Because it's our document.             It's
19      Torch Electronics document.              I shouldn't say our,
20      but yeah, it's Torch Electronics document.
21                Q     Right.     So under what circumstances
22      did you see this document previously?
23                A     Because we put them on the machines.
24      I don't put them on the machines but our
25      contractors put on them -- put them on the machines

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1       and it's basically, I mean like it says, it's a
2       disclaimer, so.
3                 Q     Okay.    We may come back to it but
4       I'll stop there for now, given your answers.                     I'm
5       also going to show you then what I'd like to mark
6       as document Son M 3.         Sorry, here you go.              She'll
7       hand you the marked one in a moment.
8                       (Son M Exhibit 3 marked for
9       identification by the court reporter.)
10                Q     (BY MR. FINNERAN)             And so I'll just
11      ask you to look at the first page of this document.
12      Do you recognize anything on the first page of this
13      document?
14                A     Can you rephrase that?                Or --
15                      MR. CRAIG:        Could you tell her what
16      --
17                A     What do you mean recognize?
18                      MR. CRAIG:        -- tell her what it is,
19      identify it?
20                Q     (BY MR. FINNERAN)             Sure.     Yeah, um,
21      sure.     So for the record, this is an excerpt of a
22      -- we've taken a portion of Torch's website and
23      we've put it onto this document, and so I'm asking
24      you if you've seen that portion of the document
25      that is in front of you before.

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1                 A     Yeah, I've seen it, but I mean, I
2       didn't see it like yesterday or two weeks ago.                   I
3       mean.     This is off the website?
4                 Q     Yes.
5                 A     Hmm.
6                 Q     And then it -- perhaps actually it
7       looks like we got this stapled incorrectly.                   Could
8       you pull the last page off of it and then we'll
9       mark that as a separate document.                  We'll do this as
10      Son M 4.
11                      (Son M Exhibit 4 marked for
12      identification by the court reporter.)
13                Q     (BY MR. FINNERAN)             And this is a
14      different portion of the same website at a
15      different time, is Son M 4.              So you have both of
16      them in front of you?
17                A     Okay.
18                Q     Are you familiar with the idea that
19      the Torch website was changed at some point?
20                A     No.
21                Q     Did you have any involvement in
22      making any changes to Torch's website at any point?
23                A     No.
24                Q     What, if any, involvement do you have
25      with Torch's website?

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1                 A     I don't have any, yeah.
2                 Q     Okay.    Do you pay invoices to anybody
3       who updates Torch's website?
4                 A     I'm sure I do, but I don't know -- I
5       don't know as far as it goes.               I just do the -- you
6       know, just pay it and just go, so yeah.
7                 Q     Okay, you answered the questions.
8       That's all I had to ask you about that.
9                 A     Okay.    On both?
10                Q     Yeah.    You can put it aside for the
11      moment.
12                A     Okay.    Okay.       I'll give them to her.
13                Q     Do you know if Mr. Miltenberger has
14      been involved in modifying language on the website?
15                A     No.
16                Q     You don't know?
17                A     I don't know.          I mean, no.    I -- no.
18                Q     Okay.    Do you know if Mr.
19      Miltenberger has been involved in creating the
20      language that's on Son M 2?
21                A     No.
22                Q     You don't know?
23                A     No, I'm saying, yeah, I -- no.
24                Q     Sorry.     You believe he has not, or
25      you don't know whether he has?

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1                 A         I believe he has not.
2                 Q         Had involvement in creating this
3       language?
4                 A         No.     Correct.
5                 Q         Okay.
6                 A         Sorry.
7                 Q         That's okay.           Is the decision, to
8       your knowledge, to place this sticker on Torch
9       devices, is that one that is made by Torch, or by
10      the amusement locations themselves?
11                          MR. CRAIG:         Object to form.        To the
12      extent you know, you can answer.
13                A         It's by Torch.            Yeah.
14                Q         (BY MR. FINNERAN)              Okay.   Did that.
15      What sort of communication, if any, do you have
16      with the people at Banilla?
17                A         Just invoicing.             Just the bills.
18                Q         Would you be the one placing an order
19      for a Torch device?
20                A         No.
21                Q         Would you only be the one then paying
22      the bill?
23                A         Paying the bill.
24                Q         Okay.     We talked earlier about Grover
25      Gaming.         Would you have occasion to interface with

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1       the people at Grover Gaming?
2                  A    No, because they do their billing
3       through Banilla and then Banilla bills us if it
4       need be, so.
5                  Q    Okay.      And I think you may have
6       answered this already, so forgive me, but do you
7       have communication ever with amusement location
8       operators and managers?
9                  A    No.
10                 Q    And do you ever have communication
11      with players of the devices?
12                 A    No.
13                 Q    Have you ever played the devices
14      yourself?
15                 A    No.
16                 Q    No?
17                 A    Hmm-mm.
18                 Q    Have you seen them played?
19                 A    Um, yeah.          Yeah, if I go into a
20      convenient store and go to the bathroom, yeah,
21      that's really it.
22                 Q    In other words, you've seen other
23      players playing them from afar?
24                 A    Yes.
25                 Q    Have you ever sort of sat next to

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1       somebody while they played the machines?
2                 A     No.
3                 Q     Okay.    Can you give me just your
4       description of how the machines work, to your
5       understanding?
6                 A     I don't know.
7                 Q     Okay.    Are you familiar with the term
8       "no chance" game?
9                 A     Yes.
10                Q     Okay.    Part of what we're all here to
11      talk about is whether these documents are -- excuse
12      me, these devices are no chance games or not, but I
13      want to make sure I'm understanding is whether
14      there are other kinds of devices that Torch puts
15      out that are not those what you call no chance
16      games.
17                      So is it fair to say that, to your
18      knowledge, all of the devices that Torch places in
19      any location in Missouri are what you refer to as,
20      quote, "no chance" games?
21                A     Correct.
22                Q     Okay.    So, for example, you don't
23      place any other kind of amusement device any
24      locations?
25                A     No.

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1                 Q     No pool tables?
2                 A     No.
3                 Q     No Big Buck Hunter?
4                 A     No.     I'm sorry, it's funny, but no.
5                 Q     No pinball machines?
6                 A     No.
7                 Q     Okay.     So is it fair to say that all
8       the devices that Torch places in locations in
9       Missouri are electronic game machines that have an
10      entertaining display in which a player can insert
11      money and potentially win money in return?
12                      MR. CRAIG:        Object to form.
13                A     Correct.
14                Q     (BY MR. FINNERAN)             Okay.   I'm
15      suspecting that some of the answers I'm going to
16      ask you next -- the questions I ask you next may be
17      outside your knowledge, but I just need to ask so I
18      can be sure of that.
19                A     I understand.
20                Q     Okay.     So are you familiar with the
21      different models or versions of the Torch devices?
22                A     No.
23                Q     I'm going to read something off --
24                      MR. CRAIG:        I'm sorry, was that a no?
25                      THE WITNESS:         That was a no, yes.

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1                 Q     (BY MR. FINNERAN)             I'm going to make
2       sure of that by saying have you heard of something
3       called NCG deluxe terminal version 5.5.0.17?
4                 A     No.
5                 Q     Is it fair to say that if I read four
6       other model numbers to you, you would give the same
7       answer?
8                 A     Yes.
9                 Q     Okay.
10                A     That would be correct.
11                Q     Fair enough.         Then I will get past
12      some of that for you.         Is it also fair to say that
13      if I were to ask you if you can tell me how many
14      of any particular model number of device Torch has
15      in Missouri, you would not be able to answer that
16      question?
17                A     I cannot answer that.
18                Q     Okay.    Fair enough.              Okay.   To your
19      knowledge, do all of the devices that Torch places
20      at locations in Missouri have a prize viewer
21      feature?
22                A     I don't know.
23                Q     Do you know what a prize viewer
24      feature is?
25                A     I don't know what it is but Steven --

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1       I've heard Steven talk about it, but that's --
2       that's really it.
3                 Q      Okay.
4                 A      That, I don't really know any more
5       about it.
6                 Q      Okay.    Are you aware of the fact that
7       at least some Torch devices give the player the
8       ability to view the outcome of the next game before
9       they hit the Play button on the game?
10                A      Yes, I'm aware of that.
11                Q      Okay.    Are you familiar with -- to
12      your understanding, is that feature called a prize
13      viewer, that ability?
14                A      I believe so.
15                Q      Okay.    And to your knowledge, do the
16      games that Torch has in Missouri all have a feature
17      like that?
18                A      I don't know.
19                Q      Okay.    Are you aware with the --
20      excuse me.      Are you familiar with the idea that
21      Torch devices, at least some Torch devices, have
22      outcomes that are dictated from a predetermined
23      finite pool of sequentially ordered outcomes?
24                       MR. CRAIG:        Object to form.   Calls
25      for expert testimony.

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1                 A        I don't.
2                 Q        (BY MR. FINNERAN)             Are you aware of
3       hearing of such a thing?
4                 A        I don't know.
5                 Q        Okay.    Do you have any understanding
6       of to what degree THE element of chance exists in
7       any Torch device?
8                          MR. CRAIG:        Object to form.
9                 A        I don't know.
10                Q        (BY MR. FINNERAN)             Okay.   To your
11      understanding, is there anything that a player of a
12      Torch device can do to affect whether the next turn
13      of the game will be a winner or a loser?
14                         MR. CRAIG:        Object to form.
15                A        I don't know.
16                Q        (BY MR. FINNERAN)             Okay.   Maybe tell
17      me what you do know about the way these devices
18      operate.        From your perspective and your knowledge,
19      how -- how do the Torch devices work?
20                A        Um, I mentioned earlier they print
21      the tickets and, you know, they have the cash in
22      the little cash bin.            I really don't know.          I mean
23      I just -- I just take care of what needs to be on
24      the, you know -- helping him run the business and
25      as far as accounting and stuff and payroll stuff.

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1       I don't get involved with the games.
2                 Q     Okay.     I believe you, but I got to
3       ask the questions, so.
4                 A     I understand.
5                 Q     Is it fair to say that, to your
6       knowledge, each of the Torch devices accepts cash
7       as a payment from a player?
8                 A     I don't --
9                       MR. CRAIG:        Object to form.
10                A     I don't know.
11                Q     (BY MR. FINNERAN)             Do Torch devices
12      generally have bill acceptors?
13                A     Yeah.     Yeah.
14                Q     Okay.
15                A     I mean -- I don't want to say yeah,
16      but I don't know 100 percent.
17                Q     Okay.
18                A     To be honest.
19                Q     Do you know if there are any Torch
20      devices that accept payments in any other way other
21      than cash payments?
22                A     No.     No.
23                Q     Sorry, you don't know?             Or you --
24                A     I don't know.
25                Q     You don't know.

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1                 A     Yeah.
2                 Q     All right.         You're going to save us a
3       lot of time by not knowing some of this stuff, so
4       we'll get through this a lot faster.
5                       Are you aware of any testing that
6       Torch has had ordered of the devices to evaluate
7       whether they comply with -- with Missouri law?
8                 A     Um, I am aware of the testing, yes.
9       But that's as far as it goes.
10                Q     Okay.
11                A     I do know about the testing, though.
12                Q     Do you know who has performed the
13      testing?
14                A     It's Banilla usually, and then, you
15      know, of course, we'll try it when it gets here to
16      St. Louis and...
17                Q     Okay.
18                A     I don't know who does it.          Steven
19      does it some of the time, some of his guys do it.
20      You know, it's just -- it's kinda all over.
21                Q     Okay.     Do you know what the testing
22      involves?
23                A     No.
24                Q     Okay.     Are you familiar with a person
25      by the name of Nick Farley?

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1                 A     No.
2                 Q     Are you familiar with a company
3       called Nick Farley & Associates?
4                 A     No.
5                 Q     Okay.    Are you aware of any
6       circumstances where Torch has requested a
7       modification to a Banilla device?
8                 A     Can you --
9                       MR. CRAIG:        Object to the form.
10                Q     (BY MR. FINNERAN)             Have you -- yes, I
11      will repeat the question.            Are you aware of any
12      circumstance where Torch has requested a
13      modification to a Banilla device?
14                      MR. CRAIG:        Object to form.
15                Q     (BY MR. FINNERAN)             You may answer.
16                A     I don't know.
17                Q     Okay.    Are you aware of the fact that
18      on some Torch devices a player can choose from six
19      different games to play?
20                      MR. CRAIG:        Object to form.
21                Q     (BY MR. FINNERAN)             You may answer.
22                A     I mean, yeah, but that's all I know
23      about it.
24                Q     Okay.    Is it fair to say then -- I
25      have to ask -- is it fair to say that you would not

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1       have an understanding of how the first outcome of a
2       game is selected once the player chooses any
3       particular game?
4                 A     No.
5                 Q     You don't have --
6                 A     I don't know.          Sorry.
7                 Q     Okay.    And just to -- to make it a
8       little easier on us and the record, if you, rather
9       than just saying "yes" or "no," say "no, I don't;
10      yes, I do."     Give us a full little sentence there.
11                A     Okay.
12                Q     That way we know exactly what you
13      meant to say, and we don't have a situation where I
14      ask a question with a not and you say no and we
15      thought you meant yes.          Do you understand what I'm
16      saying?
17                A     Yes, I understand.
18                Q     Okay.    Are you aware of the rate at
19      which Torch devices are programmed to pay out?
20                A     No, I don't.
21                Q     Are you aware of the fact that there
22      is a menu in the Torch devices that allows the
23      operator to choose high, medium, or low as the
24      payout amounts?
25                A     No, I --

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1                       MR. CRAIG:       Object to form.
2                 A     I don't know.
3                 Q     (BY MR. FINNERAN)            Okay.   Are you
4       aware of how frequently Torch devices are
5       programmed to pay out?
6                 A     No.
7                 Q     Are you aware if the Torch devices
8       have any maximum amount they can pay out?
9                 A     No.
10                Q     Are you aware of the percentage
11      return that Torch devices generally produce?
12                A     No.   I mean, I think I know, but I
13      really don't know.
14                Q     Do you have a rough sense?
15                A     No.
16                Q     Let's just say there is a machine
17      that over the course of its life has had $50,000
18      inserted into it by players.              Do you have a sense
19      of how much of that money would be -- would be
20      given back to players in terms of payouts?
21                      MR. CRAIG:       Object to form, calls for
22      speculation.
23                A     No.   I don't know.
24                Q     (BY MR. FINNERAN)            Okay.   So we're
25      going to do a sort of possibly rapid fire here

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1       where I'm going to show you some things that you
2       may have seen before and if the answer is "I've
3       never seen this before," that's fine.
4                 A     Oh, okay.       That'll be fun.
5                 Q     But that's -- in other cases what I'm
6       likely to do is ask you if you have seen it, and if
7       you have seen it, when you recall seeing it.
8                 A     Okay.
9                 Q     Okay?
10                      MR. FINNERAN:          So we'll mark Son M 5.
11                      (Son M Exhibit 5 marked for
12      identification by the court reporter.)
13                Q     (BY MR. FINNERAN)             I gave you the one
14      I already marked.
15                      MR. CRAIG:        That's fine.
16                Q     (BY MR. FINNERAN)             Is this a document
17      that you've seen before?
18                A     No.     2019.
19                Q     Okay.     If you would, it's not a very
20      long letter, if you'd take a moment just to read
21      the last paragraph in that letter silently to
22      yourself and I'll --
23                A     This one?
24                Q     Excuse me, sorry, on the first page
25      of the letter.

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1                 A     Oh, okay.
2                 Q     My fault.       Forgot it was two pages.
3       If you'd like to read the last paragraph and then
4       just let me know when you're finished reading it to
5       yourself?
6                 A     This one; right?
7                 Q     The last one, yes.
8                 A     Okay.
9                 Q     Yes.    And I'm sorry, I should have
10      asked you but can you read the short paragraph
11      right above the one you just read to yourself as
12      well, and then I'll ask you a question.
13                      Okay?
14                A     Okay.
15                Q     So you just told me a moment ago you
16      don't recall seeing this letter.                   Having read it
17      now, is that still your testimony?
18                      MR. CRAIG:        Object to form.          She
19      didn't actually read the whole letter.                   You
20      directed her to two paragraphs.
21                      MR. FINNERAN:          Fair enough.
22                Q     (BY MR. FINNERAN)             Having read the
23      two paragraphs that I asked you to read, does that
24      refresh your recollection as to whether you've seen
25      this document before or not?

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1                 A        No, I have not seen this letter.
2                 Q        Okay.     Do you have a recollection of
3       hearing about a letter of this sort from the
4       Missouri Gaming Commission?
5                 A        No.
6                 Q        Do you have any recollection in this
7       time frame -- you can see the late of the letter is
8       July 3, 2019 -- of any discussions between and you
9       Mr. Miltenberger or others about a letter from the
10      Missouri Gaming Commission?
11                A        No.
12                Q        Okay.     As I said, that may be the
13      answer for many of these things, but we've got to
14      run through them, so.
15                         MR. FINNERAN:          I will mark this one
16      as Son M 6.
17                         (Son M Exhibit 6 marked for
18      identification by the court reporter.)
19                Q        (BY MR. FINNERAN)             Oh.     They're all
20      clipped together.           Hand it back.             I'm going to have
21      to break it out.           It's going to be a big mess.                All
22      right.        I didn't think it was this long.                It is not
23      this long.        It's one page.          So there's the correct
24      one page and if you want to collate these while
25      we're getting that together.

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1                         MS. WARREN:        Yes.
2                         MR. FINNERAN:         Okay.      And now I've
3       lost -- did you have a copy?
4                         MR. CRAIG:       I did, but I gave it back
5       to you.
6                         MR. FINNERAN:         Take that one.       I'll
7       get another one.        Okay.
8                 Q       (BY MR. FINNERAN)            Ms. Miltenberger,
9       take a moment to familiarize yourself with this
10      document.       I will tell you it is a Probable Cause
11      Statement relating to a charge of possession of a
12      gambling device against a James Robert McNutt and
13      there's a date on here somewhere --
14                A       10/5/2020.
15                Q       10/5/2020 at the top.             Yes.   Do you
16      recognize this document?
17                A       No.
18                Q       Do you -- have you seen this document
19      before?
20                A       No.
21                Q       Do you have any recollection of
22      hearing about a charge brought against Mr. McNutt
23      for possession of a gambling device in and around
24      October 2020?
25                A       No.

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1                 Q     Okay.     All right.
2                       MR. FINNERAN:           This will be Son M 7.
3                       (Son M Exhibit 7 marked for
4       identification by the court reporter.)
5                 Q     (BY MR. FINNERAN)              No wait.     Only the
6       first page.     And then the next one will be --
7                       MR. CRAIG:         Can I just hold on to
8       them?
9                       MR. FINNERAN:           Yeah, if you want to,
10      that's fine.
11                      MR. CRAIG:         It'll be 8; right?
12                      MR. FINNERAN:           And I think this is
13      right, but just try and make sure that's correct.
14      Okay.
15                Q     (BY MR. FINNERAN)              Ms. Miltenberger,
16      do you recognize Son M 7?
17                A     No.
18                Q     This is a Information in a
19      Misdemeanor Case against James McNutt.                    Is it fair
20      to say you have not seen this document before?
21                A     I have not seen this document before.
22                Q     Do you have recollection of hearing
23      about a pair of misdemeanor possession charges
24      brought against James McNutt in and around October
25      of 2020?

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1                 A     No, I have not.
2                 Q     Okay.
3                       MR. FINNERAN:           Is this exhibit
4       actually the exhibit to this?                This is one --
5                       (Simultaneous speaking - inaudible.)
6                       MR. FINNERAN:           Okay.      Aaron, it's
7       just this page is Son M 8, so you got to split it
8       apart again.
9                       (Son M Exhibit 8 marked for
10      identification by the court reporter.)
11                Q     (BY MR. FINNERAN)              Um, this is a
12      Petition for Forfeiture against Torch Electronics,
13      Steven Miltenberger and Two Gambling Devices
14      pursuant to Missouri Revised Statute Section
15      513.660.
16                      Ms. Miltenberger, do you recognize
17      this document?
18                A     No.
19                Q     Have you seen it before?
20                A     No.
21                Q     Do you have any recollection of
22      hearing about a forfeiture action brought against
23      your husband, Torch Electronics, and Two Gambling
24      Devices in and around March 2021?
25                A     Yeah, but that's -- I've heard about

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1       it, but that's all I know.
2                 Q     You've heard that -- what have you
3       heard about it?
4                 A     I'm sorry, I heard about my husband
5       with the -- you know, with the Two Gambling Devices
6       and the Platte County Prosecuting Attorney's
7       Office, and that's all I've heard.
8                 Q     That's all you've heard?
9                 A     Yes.
10                Q     Okay.     Do you recall when you heard
11      about it?
12                A     I can't remember.
13                Q     Would it have been in and around the
14      time that it occurred in --
15                A     Yeah --
16                Q     -- March 25 of 2021, or thereabouts?
17                A     Yes.    Yeah.
18                Q     Okay.
19                      MR. FINNERAN:          All right.   The next
20      document we'll mark as Son M 9.
21                      MR. CRAIG:        Is that this one?
22                      MR. FINNERAN:          Yeah.
23                      MR. CRAIG:        Front and back?
24                      MR. FINNERAN:          Front and back, yeah.
25                      MR. CRAIG:        Okay.

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1                       (Son M Exhibit 9 marked for
2       identification by the court reporter.)
3                 Q     (BY MR. FINNERAN)             Flip over to the
4       back, this is Investigative Subpoena to Torch
5       Electronics.     It is dated July 16, 2021, is the
6       date for the return, and it is witnessed on June
7       14, 2021.
8                       Ms. Miltenberger, do you have any
9       familiarity with this document?
10                A     No.
11                Q     Do you recall hearing of a subpoena
12      to Torch Electronics in and around June of 2021?
13                A     No.
14                Q     Okay.    All right.           I'm sorry to keep
15      having to do these but we'll -- I'm doing them as
16      quick as we can.
17                A     No worries.
18                Q     This is Son M 10.
19                      (Son M Exhibit 10 marked for
20      identification by the court reporter.)
21                Q     (BY MR. FINNERAN)             What I've handed
22      you is a copy of a Decision rendered on March 24,
23      2020, in the Court of Appeals of Ohio, the Tenth
24      Appellate District, Case is Mayle Bingo Company, et
25      al., versus Ohio Department of Public Safety, et

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1       al.
2                       Ms. Miltenberger, are you familiar at
3       all with this decision?
4                 A     No.
5                 Q     Do you recall ever learning of a
6       decision in Ohio relating to no chance gaming
7       devices?
8                 A     No.
9                 Q     Okay.     This next one will be Son M
10      11.
11                      (Son M Exhibit 11 marked for
12      identification by the court reporter.)
13                Q     (BY MR. FINNERAN)             Ms. Miltenberger,
14      what I've handed to you now is a copy of a Decision
15      decided on March 13, 2020, by the Commonwealth
16      Court of Pennsylvania, it is Gracie Technologies,
17      Incorporated, versus Commonwealth of Pennsylvania.
18                      Do you have any recollection of
19      hearing about this case?
20                A     No.     I -- I probably shouldn't ask
21      this, but what does this have to do with Torch?
22                      MR. CRAIG:        Don't, don't, don't.       He
23      gets to ask the questions; you get to answer them.
24      The sooner we can do that, the faster we're out of
25      here.

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1                       THE WITNESS:           Okay.       Sorry.
2                       MR. FINNERAN:           Absolutely.
3                 Q     (BY MR. FINNERAN)              But what's the
4       answer to my question; do you have any familiarity
5       with this decision?
6                 A     I do not, no.
7                 Q     Okay.     Fair to say you've never seen
8       this decision before?
9                 A     No.
10                Q     Okay.
11                      (Son M Exhibit 12 marked for
12      identification by the court reporter.)
13                Q     (BY MR. FINNERAN)              This is a Decision
14      in the Supreme Court of North Carolina, Gift
15      Surplus versus State of North Carolina, filed
16      February 11, 2022.
17                      Ms. Miltenberger, are you familiar at
18      all with this decision?
19                A     No.
20                Q     Fair to say that you've never heard
21      of a decision in North Carolina relating to no
22      chance gaming devices?
23                A     No.
24                Q     Okay.     Thank you.
25                A     You're welcome.

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1                 Q         All right.        So I've just shown you a
2       number of things that you said you weren't aware
3       of, which I credit and believe.                    Are you aware of
4       any other legal actions relating to Torch that we
5       did not just go over?
6                 A         No.
7                 Q         Are you aware of a case that Torch
8       brought in Cole County, Missouri, against various
9       agencies of the Missouri government?
10                A         No.
11                Q         Okay.    Are you aware of any other
12      inquiries by law enforcement relating to any Torch
13      devices other than the ones that we've just
14      discussed?
15                          MR. CRAIG:        Object to form.        You can
16      answer.
17                A         No.
18                Q         (BY MR. FINNERAN)             Okay.   And by law
19      enforcement, I -- I -- let me just go through some
20      things.         Are you aware of any inquiries by members
21      of the Missouri Highway Patrol?
22                A         No.
23                Q         Are you aware of any inquiries by any
24      federal investigator relating to the Torch devices?
25                A         No.

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1                 Q     Are you aware of any inquiries by any
2       member of the Missouri Gaming Commission relating
3       to the Torch devices?
4                 A     No.
5                 Q     Fair to say that you are not aware of
6       any inquiry by any government official other than
7       the ones we've just shown you relating to the Torch
8       devices?
9                 A     None.    No.
10                Q     Is it fair to say that?
11                A     Yes.
12                Q     That you are not aware?
13                A     Not aware.        Sorry.
14                Q     Great.     Thank you.          Are you aware of
15      a company called Integrity Vending?
16                A     No.
17                Q     Are you aware of a action in Platte
18      County, Missouri, in October 2018 relating to the
19      seizure of Integrity Vending devices?
20                A     No.
21                Q     Okay.    Are you aware of a company
22      called Amusement Concepts, Incorporated?
23                A     No.
24                Q     Are you aware of a gentleman, we just
25      said his name earlier, named James McNutt?

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1                 A     No.
2                 Q     Are you aware of a company called
3       Midwest Petroleum?
4                 A     No.
5                 Q     Your lack of knowledge is rendering
6       many of my questions irrelevant, so I'm just trying
7       to go through them real quick.
8                 A     I understand.
9                 Q     Are you aware of a company called
10      Accel Entertainment, A-c-c-e-l Entertainment?
11                A     No.
12                Q     You are aware of Banilla.          We talked
13      about Banilla.
14                A     Mm-hmm.
15                Q     Are you aware of any financial or
16      contractual arrangements between Banilla and Torch?
17                A     No.
18                Q     Other than -- let me ask -- let me
19      ask this way.     Other than paying Banilla for
20      devices, are you aware of any other payments that
21      Torch makes to Banilla?
22                A     No.
23                Q     Okay.     Do you know if Torch gets any
24      sort of discount on its devices from Banilla?
25                A     No.     I don't know that Torch gets --

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1       no.
2                 Q     Fair to say you just pay the bills so
3       you don't know --
4                 A     Right, yeah.
5                 Q     -- how those things get negotiated,
6       you're not -- you're just not aware?
7                 A     No, I'm not aware.
8                 Q     Okay.     To your knowledge, do Torch
9       and Banilla share any employees?
10                A     No.
11                Q     Do Torch and Banilla use any of the
12      same independent contractors, to your knowledge?
13                A     No.
14                Q     Are you aware of any agreements that
15      Torch has reached with any law enforcement agency
16      or prosecutor?
17                A     No.
18                Q     Do you have any familiarity with my
19      client TNT Amusements, Incorporated?
20                A     No.     Just heard his name, that's it.
21                Q     Whose name?
22                A     Your client, TNT.
23                Q     Oh, okay.        You've heard the name TNT
24      Amusements, Incorporated?
25                A     That's why I'm here today, yes.

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1                 Q     Have you read the Complaint in this
2       case?
3                 A     No.
4                 Q     Are you -- sorry?
5                 A     I don't -- I'm sorry.              I don't know
6       if I did or not.        I --
7                 Q     Unfortunately, we don't have a copy
8       of the Complaint, but let me try to say some things
9       that might refresh your recollection and we can
10      grab a copy on a break if we need to.
11                A     Okay.
12                Q     Our client, TNT, filed a Complaint on
13      March 15 of this year in federal court against
14      yourself, your husband, and Torch Electronics, LLC.
15                A     Right.
16                Q     It was a 50-plus page document with
17      numbered paragraphs, had some photographs in it.
18      Do you have any recollection of that?
19                A     Yes.     Yes.
20                Q     Okay.     Do you believe you read that
21      document?
22                A     I probably skimmed the document.              But
23      that's really it.        I remember seeing the
24      photographs because it was interesting, yes.
25                Q     Okay.     Do you have any knowledge of a

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1       person named Jim Turntine?
2                 A     Isn't he affiliated with TNT?
3                 Q     Yes.
4                 A     Okay, yeah.
5                 Q     But I have to ask, I don't want to
6       give you the answer.
7                 A     I understand, yes.
8                 Q     So yes --
9                 A     I just was trying to --
10                Q     Do you have any knowledge of a person
11      named Marla Turntine?
12                A     No.
13                Q     Okay.     What do you know of Jim
14      Turntine?
15                A     I just know that he owns TNT and
16      that's it.
17                Q     Okay.
18                A     Yeah.
19                Q     Do you have any knowledge of any
20      other TNT employees?
21                A     No.
22                Q     Any other independent contractors of
23      TNT's?
24                A     No.
25                Q     Okay.     Are you aware of the idea of a

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1       random number generator?
2                 A     No.
3                 Q     Are you familiar with the term
4       "finite pool"?
5                 A     No.
6                 Q     You mentioned that this outside firm,
7       Wolff -- I forgot the other name.
8                 A     Wolff and Taylor.
9                 Q     -- Wolff and Taylor, they handle your
10      financials.
11                A     Correct.
12                Q     Do they produce annual financial
13      statements for you?
14                A     Yes.
15                Q     Do they produce profit and loss
16      statements for you?
17                A     Yes.
18                Q     Do you have any hand in providing
19      information for those statements?
20                A     Yes.
21                Q     What sort of information do you tend
22      to provide?
23                A     Just basically we use QuickBooks, so
24      I take the accounts payable, bank statement -- bank
25      statements, as that kind of feeds into the AR part

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1       of accounting, and then, um, basically they -- they
2       just kinda go into our files and do it and then
3       they produce the income, federal income tax return
4       for us, that we pay every year.
5                 Q        And do you review the annual
6       financials for accuracy?
7                 A        Um, I have, but we've used them for
8       as long as Steven and I been married, which is 25
9       years.        I don't tend to check them anymore.
10                Q        Okay.    Based upon your review of the
11      financial statements, is it fair to say that
12      Torch's business has grown considerably each year
13      that it's been in business?
14                A        I don't know.
15                Q        Do you have a rough sense of whether
16      the company has grown over time?
17                A        I feel like it has, but I -- that's
18      all I can say.
19                Q        Do you not, um, have an
20      understanding, and I'm not getting -- I don't want
21      a number.        Don't give me a number.              But do you have
22      an understanding of whether the company has
23      increased in revenue from year to year?
24                A        I don't know.
25                Q        Okay.    That's probably as close as I

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1       can get without getting past things --
2                       MR. CRAIG:         I agree with that.
3                       MR. FINNERAN:           I guess we can't
4       really...
5                 Q     (BY MR. FINNERAN)              Can I get Son 1
6       back, please, the first exhibit just for a moment?
7       If you can put it back in front of you, I guess,
8       and then I'll take a look at it.                   Thank you.    It's
9       the one that looks like this.
10                A     Yep.
11                Q     Okay.
12                A     Got it.
13                Q     So I think you said you were not
14      familiar with these -- these particular locations.
15      When you are doing accounting for Torch, do you
16      track revenues on a location-by-location basis?
17                A     No.
18                Q     How does Torch account for and track
19      its revenues?
20                      MR. CRAIG:         Object to form.         If you
21      know.
22                A     I don't know.
23                Q     (BY MR. FINNERAN)              I guess I need to
24      understand your answer better because it must be
25      the case that somehow you get information about

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1       what revenue Torch has received.                    So how do you
2       obtain information about Torch's revenue?
3                 A         Well, through the bank, through the
4       bank statements.
5                 Q         So am I to understand then that the
6       auditors would directly deposit into your bank
7       account the money that they collect from various
8       locations?
9                 A         Correct, yes, that's the way it
10      works.
11                Q         How are they -- are they -- how do
12      they have the authority to deposit that into your
13      bank account?         Do they all have signatory authority
14      over your bank accounts, or how do they have that
15      ability?
16                A         I know they don't have signature
17      authority.         They basically, you know, talk to
18      Steven.         They know that, you know, I don't know,
19      have used so many names.            They know that our
20      auditor is going to deposit into that bank, the
21      people of the bank, the people that work at the
22      bank, I don't know how to word that.                    But they --
23      so Steven talks to that auditor and then talks to
24      the bank and then the bank knows that auditor's
25      going to come in and deposit for Torch Electronics.

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1                 Q         Okay.
2                 A         Yes.
3                 Q         So in other words, Mr. Miltenberger
4       would authorize each of the auditors to make
5       deposits into a Torch Electronics bank account.
6                 A         Yes.
7                 Q         Where does Torch's bank account
8       reside?         What bank I mean?
9                 A         I don't know.           We have quite a few.
10                Q         Well, what are the banks that you
11      bank at, Torch Electronics banks at?
12                A         I don't know.           I mean there's --
13      there's a few.
14                Q         Yeah, so can you --
15                A         I'm not meaning like two or three.
16      Because we -- I mean there's a few banks.
17                Q         Okay.     Can you name at least some
18      that you remember?
19                A         Phelps County.            Um, Legends Bank.    I
20      mean there's a few others.
21                Q         And so does Torch maintain bank
22      accounts at each of the banks that you're thinking
23      of?
24                A         Yes.     Oh, yeah.
25                Q         And when it then assesses its

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1       revenues, does it transfer money from those banks
2       to a single account, or does it keep those moneys
3       where they were originally deposited as a general
4       rule?
5                 A        It transfers.
6                 Q        Okay.
7                 A        Yeah.
8                 Q        Is there one bank account to which
9       money is typically transferred?
10                A        Yes.
11                Q        And what bank is that?
12                A        It's a Busey Bank account.
13                Q        Okay.    And so going back to the
14      accounting piece, which is where I tried to start
15      here, so is there any way for you, with that
16      information, to track the particular locations that
17      any deposits are coming from?
18                A        Yeah, but the tracking, when I said
19      no, it's because I don't do it.                   Steven sees those
20      numbers.        So that's where it's at.
21                Q        And how does Mr. Miltenberger
22      determine then how each device, or each location,
23      how much money is being made at each location, how
24      would he have that information?
25                A        I don't know.

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1                 Q     Okay.
2                 A     Yeah.     I don't know that part.
3                 Q     Okay.
4                 A     Yeah.
5                 Q     You mentioned earlier that the
6       auditors will get receipts from the machines and
7       then balance that against the cash in the machines?
8                 A     Mm-hmm.
9                       MR. CRAIG:        Is that a yes?       Sorry.
10                A     I'm sorry.        Yes.      Yes.
11                Q     (BY MR. FINNERAN)             Do you -- do you
12      happen to know whether those receipts are kept by
13      Torch Electronics?
14                A     Yes.
15                Q     They are kept?
16                A     Yes, they are kept by Torch
17      Electronics.
18                Q     Okay.     That -- that might be a way to
19      figure it out, then, if you have those records.
20                A     Right.
21                Q     Okay.     Do you make any effort, from
22      an accounting standpoint, to balance what those
23      receipts show against what the deposits are to your
24      bank accounts?
25                A     Yes.

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1                 Q        And typically do things balance?
2                 A        98 percent of the time.                Depends on
3       what's going on out there.
4                 Q        Yeah, fair enough.             Okay.     All right.
5                 A        Is that -- oh, I thought it was --
6       never mind.
7                 Q        Okay.    I asked you earlier about your
8       knowledge of TNT Amusements and Jim Turntine, its
9       owner.        Do you have any knowledge of what sort of
10      machines or devices TNT markets?
11                A        No.
12                Q        Okay.    If you've -- if you've at
13      least seen of Complaint at some point, you probably
14      understand that TNT contends that the Torch devices
15      are illegal gambling devices.
16                         Do you have any recollection of when
17      you first learned that TNT had raised that
18      contention?
19                A        I don't know.          It feels like a
20      hundred years ago but, um, no.                   I don't.     I don't
21      know.     I know it was maybe a couple years ago?                      Or
22      a year ago?        You said March 15.
23                Q        That's when the Complaint was filed.
24                A        Oh, okay.
25                Q        I'm asking prior to the Complaint

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1       were you aware of any allegation by TNT or Jim
2       Turntine that Torch's devices were illegal?
3                 A     Yes.     I mean, that's what they
4       claimed, yes.
5                 Q     When did you become aware of that
6       allegation?
7                 A     Like two years, two, two and a half
8       years ago.
9                 Q     Okay.
10                A     That's a guess.
11                Q     Are you aware of any news reporting
12      about Torch's machines?
13                A     No.
14                Q     Have you never seen a newspaper
15      article about Torch's machines?
16                      MR. CRAIG:         Object to form.
17                A     Not newspaper, but I mean online.                  I
18      guess it's the same thing, but...
19                Q     (BY MR. FINNERAN)              Okay.   Well, you
20      --
21                A     Sorry.
22                Q     You didn't read it in an actual
23      newspaper, but who does these days.
24                A     Right.
25                Q     But you are -- are you aware of there

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1       being news articles published by news -- news
2       entities about Torch's devices?
3                 A     Yes.
4                 Q     And what generally is your
5       understanding of those news articles?
6                       MR. CRAIG:       Object to form.
7                 A     I don't know.         I mean...
8                 Q     (BY MR. FINNERAN)            Are you aware of
9       allegations in news articles that the Torch devices
10      are illegal devices?
11                      MR. CRAIG:       Object to form.
12                A     I mean, yeah, but -- yeah, I am
13      aware, but it's the news.           So.      Run with that.
14                Q     (BY MR. FINNERAN)            And do you recall
15      when you first learned of an allegation in a
16      newspaper or news article about Torch's devices
17      being illegal?
18                      MR. CRAIG:       Object to form.
19                A     Yeah, I mean, that feels like a
20      hundred years ago too, but I don't -- two years
21      ago?     Three years ago?
22                Q     (BY MR. FINNERAN)            Okay.
23                A     I -- I'm just kinda throwing the
24      years out there.
25                Q     I mean you can only give me your best

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1       recollection.
2                 A     Yeah.
3                 Q     So whatever you recall is fine.
4                 A     Yes.
5                 Q     Have you seen any television reports
6       about Torch's devices?
7                 A     Yes.
8                 Q     And what do you recall about those
9       reports?
10                A     Oh, my God.          Um, just the same thing
11      basically that the news says.                I mean it's just
12      basically the same thing, I mean.                  I don't know.
13                Q     Do you recall when you first saw a
14      television story about Torch's devices?
15                A     About a month ago.
16                Q     Do you recall what news station it
17      was on?
18                A     I know it was here, but I can't
19      remember, maybe Fox News 2 or something like that?
20      I don't...
21                Q     When you say "here," do you mean in
22      the St. Louis area?
23                A     I'm sorry, yes, St. Louis.
24                Q     Okay.     Do you recall any radio
25      coverage or interviews about Torch devices?

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1                 A     No.
2                 Q     Okay.     Are you aware of a company
3       called Rocket Convenience?
4                 A     No.
5                 Q     Does Torch have any agreements with
6       any lobbyists?
7                 A     I don't know.
8                 Q     Are you aware of a gentleman named
9       Steve Tilley?
10                A     No.
11                Q     Have you ever paid an invoice to a
12      gentleman named Steve Tilley?
13                A     Not to Steve Tilley himself.         I mean,
14      there's a, you know, group or whatever, but that
15      was -- that was really it.
16                Q     Okay.     Are you thinking of a company
17      called Strategic Capitol Consulting?
18                A     Mm-hmm.
19                Q     Are you aware that that's a company
20      affiliated with Mr. Tilley?
21                A     Yes.     Yes, I mean, I just pay it and
22      go -- I just don't think about it.
23                Q     Okay.     But you at least know that
24      Mr. Tilley is affiliated with that company?
25                A     Yes, but he is not the only one.

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1                 Q        Fair enough.
2                 A        Yes.
3                 Q        And do you know what Torch pays
4       Strategic Capitol Consulting to do?
5                 A        What to do?
6                 Q        Yeah.     Do you know what -- what
7       you're paying them for?
8                 A        No.
9                 Q        Okay.     Have you ever met with people
10      from Strategic Capitol Consulting?
11                A        Besides Steve?
12                Q        Including Steve.             If you have.
13                A        Yeah, but it's -- I mean, yes, but
14      it's been a little bit probably, yeah.
15                Q        Okay.     So when did you meet with
16      Mr. Tilley?
17                A        Oh, it's been a -- it's been a little
18      while.        I mean I could say eight months.
19                Q        Okay.
20                A        Yeah.
21                Q        Is Mr. Tilley an attorney?
22                A        No.     He was Speaker of the House, I
23      know that, but...
24                Q        I don't think he is, but --
25                A        Okay.

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1                 Q     So can you tell me then what your --
2       what your meeting -- the purpose was of your
3       meeting with Mr. Tilley?
4                 A     I didn't meet with him.            Steven met
5       with him.
6                 Q     I'm sorry.
7                 A     Sorry.     I should have said that
8       clearer, but I didn't meet with him.
9                 Q     You did not meet with him?
10                A     I did not meet with him.            Steven --
11      Steven did.
12                Q     Okay.    Have you ever met with
13      Mr. Tilley?
14                A     Yeah, but it was like lunch or
15      something like that, that Steven and I would go to
16      a lunch, but it wasn't like, you know, we would
17      talked about whatever.          It was just lunch.
18                Q     Okay.    Have you ever had a meeting --
19      I'm sorry to keep asking.            I just want to make sure
20      we nail it down.
21                      Have you ever had a meeting with
22      Mr. Tilley where you have discussed lobbying on
23      behalf of Torch Electronics?
24                A     No.
25                Q     Okay.    That will do it.

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1                       Are you aware of any efforts that
2       Mr. Tilley and Strategic Capitol Consulting engaged
3       in to amend Missouri's gambling laws?
4                 A     No.
5                 Q     Are you aware of any efforts that
6       were undertaken in the legislature to amend
7       Missouri's gambling laws?
8                 A     No.     Oh, wait a minute.             I'm sorry.
9       Are you -- I mean yes, I think if I -- if I know
10      what you're talking about.             Are you talking about
11      like the VLT thing?
12                Q     That's one possible thing, sure.
13                A     Okay.     Yeah, that's all I know.
14                Q     And What's your awareness of that?
15                A     That it's a VLT.            It's a video
16      lottery gambling device and things would get
17      rewarded to the lottery.           That's all I know.
18                Q     Okay.     How did -- how did you come to
19      learn about that?
20                A     I don't know.          How?        Steven?
21                Q     Okay.     Are you aware of any political
22      contributions that Torch Electronics has made?
23                A     No.
24                Q     Are you aware of any, um, events that
25      Torch Electronics has hosted on behalf of any

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1       political candidate?
2                 A       No.     I mean, no, we haven't done
3       that.     No.
4                 Q       Okay.     Are you aware of any
5       contributions that you or your husband have made to
6       any political candidate in Missouri?
7                 A       No.
8                 Q       Are you aware of any events that you
9       or your husband have hosted for a political
10      candidate in Missouri?
11                A       No.     We have -- no, not hosted.
12                Q       Okay.     Have you attended any
13      fundraising events for candidates in the State of
14      Missouri?       You personally?
15                A       My -- myself?          I -- myself?
16                Q       Yes.
17                A       I mean yeah, but -- yes, but not
18      recently.
19                Q       Okay.
20                A       Yeah.
21                Q       How recently?
22                A       Five months ago maybe?             Four months
23      ago?     Whatever -- I'd say like August.
24                Q       Okay.
25                A       Whatever August is.

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1                 Q     And what event are you thinking of?
2                 A     It was just basically a fundraiser
3       for four guys that were in the House, or Senate,
4       and I have no clue what their names are, I don't
5       remember.
6                 Q     Okay.
7                 A     So that is about as far as that will
8       go.
9                 Q     Okay.     Do you know if you or your
10      husband made contributions to -- to any political
11      candidates in connection with that event?
12                A     No.
13                Q     You don't know?
14                A     I don't know, no.
15                Q     Okay.     Do you know who Greg Keller
16      is?
17                A     No.
18                Q     Okay.
19                      MR. FINNERAN:           I'm going to take my
20      mic off for a second so I can grab the exhibits
21      real quick.
22                      MR. CRAIG:         Could we take a break
23      while you --
24                      MR. FINNERAN:           Yeah, sure, that'll be
25      a good time.

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1                           THE VIDEOGRAPHER:          Off the record at
2       11:19.
3                           (Off the record.)
4                           (Son M Exhibits 13 through 22 marked
5       for identification by the court reporter.)
6                           THE VIDEOGRAPHER:          We are back on the
7       record.         This is media unit number three, the time
8       is 11:34.
9                 Q         (BY MR. FINNERAN)          All right,
10      Ms. Miltenberger, a few housekeeping matters.
11      First, these will hopefully go quickly.                  I'm going
12      to hand you a copy of what have been marked
13      Exhibits 13 and 14.         We got ahead on marking them
14      on the break.
15                          MR. CRAIG:     Thank you.
16                          MR. FINNERAN:       You're welcome.
17                Q         (BY MR. FINNERAN)          These are copies
18      of the first request for production that we
19      provided to Torch and a copy of the first set of
20      interrogatories that we provided to Torch.
21                          I want to be clear when I'm asking
22      these questions, I am not asking for any
23      communications with your attorney.                  All I would
24      like to know is with respect to each of these, what
25      did you do in order to gather documents that might

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1       be responsive to our requests?
2                 A     I'm -- can you rephrase that?
3                 Q     (BY MR. FINNERAN)              Yeah.   So first of
4       all, have you seen these documents before?
5                 A     Oh.     Yeah, I've seen it and I read
6       it, sort of, and that was about it.
7                 Q     Okay.     Did you take any steps
8       thereafter to gather documents to provide to your
9       attorney for review?
10                A     Oh, I'm sorry.            If -- so Steven would
11      have provided those documents.
12                Q     Okay.     Did you have any involvement
13      in that process?
14                A     No.
15                Q     Okay.     Do you have an email account
16      that is separate from Steven's email account?
17                A     Yes.
18                Q     Does Steven have access to your email
19      account?
20                A     Yes.
21                Q     Do you understand whether he reviewed
22      your email account in order to provide information
23      to your attorney?
24                A     Yeah, I mean...
25                Q     Do you happen to know whether he

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1       looked in your email account to see if there were
2       any responsive documents to our requests?
3                 A     Yes, I mean, but there wasn't.
4                 Q     Okay.
5                 A     Yeah.
6                 Q     Okay.     What about text messages?            Did
7       you have -- did you provide either your husband or
8       your attorneys access to your text messages?
9                 A     No.
10                Q     Okay.     What about your paper files?
11      Did you provide either your husband or your
12      attorneys access to your paper files to respond to
13      these requests?
14                A     No.
15                Q     Okay.     Do you recall reading the
16      interrogatories which are labeled as --
17                A     13?
18                Q     13, yes.
19                A     Yeah, this is I'm saying, I did like
20      read it, but to be honest, I didn't like totally
21      consume it.
22                Q     Okay.     I understand.            Do you recall
23      looking up any information in order to be able to
24      respond to these interrogatories?
25                A     No.

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1                 Q        Okay.    I'm going to hand you now what
2       have been marked as 15 and 16.
3                          MR. FINNERAN:          Aaron, here you go.
4       Sorry.        15 and 16.    Here you go.
5                          MR. CRAIG:        Thank you.
6                 Q        (BY MR. FINNERAN)             So now what I've
7       handed to you are copies of TNT's second request
8       for production and second set of interrogatories.
9       I will tell you that we only provided these to your
10      attorneys last week, so I don't want to surprise
11      with you anything, but have you seen either of
12      these documents before?
13                A        I've seen them, yes.               Yes.
14                Q        Okay.    And have you, so far,
15      understanding that you have more time to respond,
16      but have you so far taken any steps to provide
17      either your husband or your attorneys with
18      documents to be able to respond to these requests?
19                A        No.
20                Q        Okay.    All right.           You can put those
21      aside.        All right.    We're back to that sort of, um,
22      rapid fire we did a while ago where I'm going to
23      show you documents you probably haven't seen based
24      upon your prior statements and you just need to
25      confirm that for me.

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1                 A        Okay.
2                 Q        But obviously if you have seen it,
3       let me know that as well.
4                 A        Okay.
5                 Q        So the first one is number 17.
6                 A        Oh, sorry.
7                 Q        You're all right.
8                          MR. FINNERAN:           Aaron, here is 17.
9                 Q        (BY MR. FINNERAN)              I've handed you a
10      document that is titled Probable Cause Statement.
11      It's State of Missouri versus Torch Electronics,
12      the date on the document is December 14, 2019, and
13      it is reflected as being in the county of Linn,
14      L-i-n-n.        And then there is a file stamp that
15      actually says 10/21/2020.
16                         Do you recognize this document?
17                A        No.
18                Q        Do you believe you've ever seen it
19      before?
20                A        No.
21                Q        Okay.     Are you -- were you aware in
22      and around this time of a Probable Cause Statement
23      being filed against Torch Electronics?
24                A        No.
25                Q        Okay.     Here is 18.              Okay.

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1                           MR. CRAIG:      Thank you.
2                           MR. FINNERAN:        Do you have another
3       stack?        I lost my copy.       Tim, I actually have a
4       copy of this if you -- you're probably familiar.
5                           MR. SIGMUND:       I think I've seen it
6       before.         Thanks.
7                 Q         (BY MR. FINNERAN)           These are actually
8       -- looks like two got stapled together, but rather
9       than making us redo that, do you see here that
10      there is -- or actually perhaps it's an attachment.
11      Let me see if I can figure that out real quick.
12      Well, it's consecutively numbered, so I'll just ask
13      you about both of them.
14                          So what I'm showing you now is a
15      letter dated November 6, 2019, to a Shinate
16      McMahon, Prosecuting Attorney of Linn County,
17      signed by your attorney, Tim Sigmund, and attached
18      to it is an email chain of correspondence.
19                          Do you recognize this document?
20                A         No.
21                Q         Have you ever seen it before?
22                A         I have not seen it before.
23                Q         And do you have any recollection of
24      there being a discussion between your attorney and
25      Mr. McMahon, the Prosecuting Attorney for Linn

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1       County, in and around November of 2019?
2                 A     No.
3                 Q     Okay.    On to Number 19.           Here we have
4       a communication from July of 2019 from your
5       husband, Mr. Miltenberger, to a Wayne Baker, as
6       well as two other email addresses, both ending in
7       baker@woilco.com and if you flip to the second and
8       third pages, you'll see it attaches a copy of the
9       MGC letter that we discussed previously.
10                      Do you have any recollection of
11      seeing an email like this in and around July of
12      2019?
13                A     No.
14                Q     Do you believe you've ever seen this
15      document before?
16                A     No, I have not seen this.
17                Q     And do you have -- well, we already
18      talked about that letter, so we can move on.                Here
19      is number 20.
20                      MR. FINNERAN:          Aaron.
21                Q     (BY MR. FINNERAN)             I've just handed
22      you a document that is marked Application and
23      Affidavit for Search Warrant for Evidence of a
24      Criminal Offense for the County of Greene.                This is
25      a affidavit by a Sergeant Jason B. Trammell and the

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1       date at the end of the document is August 12, 2021.
2                       Does this document look familiar to
3       you?
4                 A     No.
5                 Q     Have you ever seen a document like
6       this before?
7                 A     No.
8                 Q     Do you have any recollection of
9       learning about an affidavit for a search warrant
10      issued in the County of Greene in and around August
11      of 2021?
12                A     No.
13                Q     Okay.    Just two more.            I have handed
14      you a document marked for identification as
15      document 21.     This is a letter again from your
16      attorney, Mr. Sigmund, to a John M. Hessel dated
17      January 21, 2019.
18                      Do you recognize this document?
19                A     No.
20                Q     Do you have any recollection of
21      seeing a document -- this document before?
22                A     No.
23                Q     Do you have any recollection of there
24      being a discussion with Mr. Hessel around 2019 --
25      excuse me, January of 2019 relating to Torch

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1       devices?
2                 A     No.
3                 Q     Okay.     And the last one.            This is a
4       letter dated November 8, 2018, to a City Attorney
5       David Bandre in the City of Holts Summit, Missouri.
6       It is also a letter from Tim Sigmund dated -- well,
7       the letter is dated November 8, 2018.
8                       Do you have any recollection of this
9       document?
10                A     No.
11                Q     Do you believe you've ever seen it
12      before?
13                A     No.
14                Q     Do you have any recollection of a
15      discussion in around 2018 with the City Attorney of
16      Holts Summit about the Torch devices?
17                A     No.
18                Q     Okay.     I hope I didn't talk too fast.
19      Just trying to move through that.                  Okay.   Where did
20      the photos go.        All right.
21                      Ms. Miltenberger, do you recall a
22      Complaint being filed against Torch Electronics in
23      the Western District of Missouri in March of this
24      year, a class action lawsuit called Romano?
25                A     No.

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1                 Q     Do you believe you ever reviewed a
2       copy of that lawsuit?
3                 A     No.
4                       MR. FINNERAN:          Okay.       I'm going to
5       mark this for identification as document 23, Son M
6       23.     And let's go ahead and mark 24 at the same
7       time.
8                       (Son M Exhibits 23 and 24 marked for
9       identification by the court reporter.)
10                Q     (BY MR. FINNERAN)             What I've handed
11      you are two photographs that were provided in the
12      lawsuit I just mentioned of children playing what
13      appear to be, at least in one of photos, a Torch
14      device.
15                      Do you -- have you seen these photos
16      before?
17                A     Yeah, and you asked me about the
18      lawsuit thing, um, first, and then I said no.                     I
19      haven't seen that part but I had seen the photos,
20      yeah.     So I've seen these photos.
21                Q     Okay.    Was it in the context of the
22      lawsuit you saw the photos?              Or some other context?
23                A     It was probably in that, but then I
24      just don't remember the lawsuit part of it, but
25      then remember this more 'cause --

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1                 Q     Totally understandable.              They're
2       pictures.
3                 A     Yeah, and I don't know that they're
4       ours but...
5                 Q     Well, if you look at the first of the
6       two photos which is marked 23 --
7                 A     Yeah.
8                 Q     -- do you see in the center of the
9       photograph a Torch sticker on the device?
10                A     Yeah, I believe that's what it is.
11                Q     Okay.     And I will admit to you that I
12      cannot make out a Torch sticker on any of the
13      devices in the second document, but do you
14      recognize those devices as being either similar or
15      dissimilar to Torch devices?
16                      MR. CRAIG:         Object to form.
17                A     I -- I don't know because I can't --
18      that side -- that side sticker there --
19                Q     (BY MR. FINNERAN)              Oh, I'm sorry,
20      you're looking at a different --
21                A     No, I see that.             Anybody can
22      Photoshop that, but yeah, I don't -- I'm not sure
23      about -- what did you ask me?
24                Q     Well, I'm sorry, I think we -- we've
25      miscommunicated.        So I was asking about the second

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1       photograph.
2                 A     Oh, yes.      Oh, these are not Torch
3       machines.
4                 Q     Okay.    And How do you know they're
5       not Torch machines?
6                 A     Um, just because I'm pretty familiar
7       with what they look like, and that's really it,
8       yeah.
9                 Q     Okay.    So you believe that the -- the
10      physical appearance of these devices convinces you
11      they're not Torch machines?
12                A     Yeah.    This is -- yeah.
13                Q     Okay.    So we, on the first photograph
14      of 23 --
15                A     This one?
16                Q     -- yes, that one -- um, we agree that
17      there is what appears to be a Torch sticker in the
18      center of the photograph; correct?
19                A     Sure.
20                Q     And just now looking -- just ignoring
21      the Torch sticker for the moment and looking at the
22      rest of the machine, does that machine look like
23      the kind of machines that Torch typically places in
24      locations?
25                A     Um, I don't know because there's

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1       different kinds, but -- and they have different
2       fronts, but I don't know that these look like
3       Torches.
4                 Q     Okay.    Fair enough.              Other than
5       seeing these photographs today and seeing them
6       previously, do you have any awareness of children
7       playing Torch devices?
8                       MR. CRAIG:        Object to form.
9                 A     There -- there are no children
10      playing the Torch devices.
11                Q     (BY MR. FINNERAN)             How do you know
12      that?
13                A     I -- I don't, but, I mean -- I mean,
14      especially after people saw this, they were, you
15      know, made aware that, you know, especially
16      children not to play.         So that's all I really know.
17                Q     Okay.    Other than seeing these
18      photographs, had you previously received any
19      reports of children playing the machines?
20                A     No.
21                Q     Have you subsequently received
22      reports of children playing the machines?
23                A     No.
24                Q     Are there any steps that Torch takes
25      to prevent children from playing the machines?

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1                 A     Um, I don't know.
2                 Q     You're not aware of any steps?
3                 A     At this time, no.
4                 Q     Okay.     Why shouldn't children play
5       the machines?
6                       MR. CRAIG:         Object to form.
7                 A     You're supposed to be 18.
8                 Q     (BY MR. FINNERAN)              Under -- why are
9       they supposed to be 18?
10                A     I don't know.           I thought that was on
11      the other document.         Um...
12                Q     Is it --
13                A     Or maybe 16.           Maybe 16.     It might be
14      16.
15                Q     Is it your understanding there's some
16      law that prevents children from playing the
17      devices?
18                A     No, there's no law, no.
19                Q     Well, then, what is it that would
20      prevent a child from playing the devices?
21                A     I -- I don't know.
22                Q     Is there a Torch policy that prevents
23      children from playing the devices?
24                A     Um, no.
25                Q     Are, to your knowledge, does Torch

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1       instruct amusement location owners to not allow
2       children to play the devices?
3                 A     Can you repeat that?
4                 Q     Yes.     To your knowledge, does Torch
5       instruct amusement location owners and operators
6       not to permit children to play the devices?
7                 A     Yeah, they encourage it, yeah.
8                 Q     They encourage what?               Sorry?
9                 A     They encourage them not to play the
10      machines --
11                Q     There's two theys in the sentence.
12                A     -- the children.
13                Q     Who encourages whom?               Torch
14      encourages --
15                A     Torch encourages the location for the
16      children not to play the machines.
17                Q     How does Torch do that?
18                A     I don't know.           I mean, I -- I don't
19      know.
20                Q     Okay.     What is the reason that
21      children would not be permitted to play the
22      machines?
23                      MR. CRAIG:         Object to form.          Only if
24      you know.
25                A     I don't know.

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1                 Q     (BY MR. FINNERAN)             Is it -- is it
2       fair to assume that you -- you believe that the
3       machines are not gambling devices?
4                 A     Oh, I definitely believe they're not
5       gambling devices, yes.
6                 Q     So if they're not gambling devices,
7       why would children not be permitted to play them?
8                       MR. CRAIG:        Object to form.
9                 A     I don't know.          You go into a casino,
10      can you play at ten years old?
11                Q     (BY MR. FINNERAN)             No.
12                A     Okay.
13                Q     But that would be a gambling device.
14                A     Right.
15                Q     So I'm asking you, if they're not
16      gambling devices, why is it that a child should not
17      be permitted to play the Torch devices?
18                      MR. CRAIG:        Object to form.        If you
19      know.
20                A     I don't know.
21                Q     (BY MR. FINNERAN)             Okay.   Do you know
22      if Torch takes any steps to prevent what are
23      sometimes called problem gamblers or gambling
24      addicts from playing Torch devices?
25                A     I don't know.          I mean, Torch -- I

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1       don't know.
2                 Q     Um, is it fair to say, then, you're
3       not aware of any steps Torch takes to prevent
4       problem gamblers --
5                 A     At this time, no.
6                 Q     Sorry, let me finish the question for
7       the court reporter.
8                       You're not aware of any steps that
9       Torch takes to prevent problem gamblers or gambling
10      addicts from playing Torch devices?
11                A     Correct.
12                Q     Okay.    Do you believe that it's
13      appropriate for Torch to prevent gambling addicts
14      and problem gamblers from playing Torch devices?
15                      MR. CRAIG:        Object to form, calls for
16      improper speculation.
17                A     Um, can you repeat that?
18                Q     (BY MR. FINNERAN)             Yeah.   Do you
19      believe that it would be appropriate for Torch to
20      take steps to prevent problem gamblers or gambling
21      addicts from playing Torch devices?
22                      MR. CRAIG:        Same objection.
23                A     I -- I don't know.
24                Q     (BY MR. FINNERAN)             I'm sorry, you
25      said?

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1                 A         I don't know.
2                           MR. FINNERAN:        Okay.       The statute,
3       please?         We'll mark this as 25.
4                           (Son M Exhibit 25 marked for
5       identification by the court reporter.)
6                 Q         (BY MR. FINNERAN)           Ms. Miltenberger,
7       what I've just handed you is a copy of Missouri
8       Revised Statute 572.010.             It is the section of the
9       Missouri law that defines, among other things, the
10      terms "gambling, contest of chance, gambling
11      device," and "slot machine."
12                A         Mm-hmm.
13                Q         Are you familiar with this section of
14      the Missouri Statutes?
15                A         No.
16                Q         Has -- have -- other than a
17      conversation with an attorney, because I don't want
18      to know about those attorney -- those
19      conversations, has anyone ever discussed with you
20      the definitions of either "gambling" or "gambling
21      device" under Missouri law?                Not a conversation
22      with your attorneys --
23                          MR. CRAIG:      Not just me, but any
24      attorney ever.
25                          MR. FINNERAN:        Any attorney, right.

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1                 A     Yeah, it's just something that -- I
2       don't know that I've ever had a conversation with.
3       I just kind of assume.
4                 Q     (BY MR. FINNERAN)             What is it that
5       you assume?
6                 A     That, well, what you just asked me
7       about it being a gambling device or non-gambling
8       device, you know, that's just -- I mean, because we
9       been doing this for a little bit, it's just -- I
10      just kind of feel like I know.                I don't know that
11      anybody's ever really told me.
12                Q     Okay.
13                A     Even Steven.
14                Q     Told you what?
15                A     About it being a gambling device or
16      whatever.
17                Q     Okay.
18                A     Yeah.
19                Q     So you don't recall a conversation
20      with your husband or with any other person who is
21      not an attorney about whether Torch devices are or
22      are not gambling devices?
23                A     Right.
24                Q     Okay.    Do you have an opinion as to
25      whether they are or are not gambling devices?

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1                       MR. CRAIG:        Object to form, calls for
2       expert and legal testimony.
3                 Q     (BY MR. FINNERAN)             You may answer if
4       you have an opinion.
5                 A     Yeah, I have an opinion.             They're
6       not.
7                 Q     Why do you believe they are not?
8                 A     Just because the different forms of,
9       you know, Steven and I have discussed to, you know,
10      like we've been through with these questions and
11      whatever and, you know, I just -- I just believe, I
12      mean, I've been to Vegas, you know?
13                Q     Mm-hmm.
14                A     And so I know what those do and what
15      these do and, you know, I don't know the ins and
16      outs of it 100 percent, but I do know the logistics
17      of just a little bit of it.
18                Q     Okay.
19                A     And Torch's machines are not illegal.
20                Q     Okay.     And what is it in your mind
21      that makes a Torch machine different from a
22      gambling device like you might have seen when you
23      were in Vegas?
24                      MR. CRAIG:        Object to form, calls for
25      expert testimony.

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1                 A         I don't recall.           I don't know.
2                 Q         (BY MR. FINNERAN)             But you -- so you
3       don't have an understanding of how they're
4       different, but you believe that they are different
5       in a significant way?
6                 A         Yeah, I mean, that's real technical
7       and I don't know that I can...
8                 Q         No, that's fine if you --
9                 A         I know.      I know.        But I'm just saying
10      it's real technical.             I just don't know the deep,
11      you know, the deep part of it, you know, or the ins
12      and outs 100 percent, you know.                    I know the basic.
13                Q         I understand.          So I'd like to direct
14      your attention to the first page of the document
15      I've handed you.
16                A         Okay.
17                Q         You see where it says number 4 and
18      then it says the word "Gambling"?
19                A         Mm-hmm.
20                Q         Okay.     I'm just going to read into
21      the record the first sentence and then ask you to
22      read along with me to make sure I'm reading it
23      correctly.         It says (quote as read):
24                      ...a person engages in gambling
25                      when he or she stakes or risks

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1                       something of value upon the
2                       outcome of a contest of chance or
3                       a future contingent event not
4                       under his or her control or
5                       influence, upon an agreement or
6                       understanding that he or she will
7                       receive something of value in the
8                       event of a certain outcome.
9                           First of all, did I read that
10      correctly?
11                A         Yes.
12                Q         Okay.     Do you have an understanding
13      of whether the Torch devices involve a player
14      staking something of value when they play the
15      devices?
16                          MR. CRAIG:         Object to form, calls a
17      legal expert opinions.
18                A         Don't know that.
19                Q         (BY MR. FINNERAN)              Do you agree with
20      me that in order to play the device, a player must
21      insert money into the machine?
22                          MR. CRAIG:         Object to form, expert
23      testimony.
24                A         Yeah.
25                Q         (BY MR. FINNERAN)              Okay.   Then at the

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1       end of this it says that (quote as read):
2                       ...upon agreement or
3                       understanding that he or she will
4                       receive something of value in the
5                       event of a certain outcome.
6                           Do you agree with me the Torch
7       devices involve a agreement or understanding that
8       the player will receive something of value in the
9       event of a certain outcome?
10                          MR. CRAIG:        Object to the form, calls
11      for legal and technical expert opinion.
12                A         I don't know.
13                Q         (BY MR. FINNERAN)             Okay.   Do you
14      agree with me that a player of a Torch device has
15      the capability of winning money in the event that
16      the device produces a non-zero outcome?
17                          MR. CRAIG:        Object to the form of the
18      question, expert testimony, legal and technical.
19                A         I don't know.
20                Q         (BY MR. FINNERAN)             You don't know
21      whether the Torch devices pay out money?
22                A         Well, yeah, I know that they pay out
23      money, but that's all I know.                   Do you have a better
24      -- I thought there was more to the question.
25                Q         Okay.    There may have been.

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1                 A         Confusing me.
2                 Q         Sorry, I don't mean to confuse you.
3       I'm just trying to find out what we agree --
4                 A         Doesn't take much.
5                 Q         That's all right.             I'm just trying to
6       find out what we agree about and we don't agree
7       about.
8                           So you agree the machines sometimes
9       pay out money; correct?
10                A         Yes.     Yes.
11                Q         Do you agree the player who is
12      playing the game has an understanding that it's
13      possible for him to win money?
14                          MR. CRAIG:        Object to form,
15      speculation as to what a player knows or
16      understands.
17                A         I don't know.          Yeah.
18                Q         (BY MR. FINNERAN)             Okay.   So the
19      middle of the definition says (quote as read):
20                      ...upon the outcome of a contest
21                      of chance.
22                          Do you believe that the Torch devices
23      involve players playing a contest of chance?
24                          MR. CRAIG:        Object to form, calls for
25      expert testimony, technical and legal.

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1                 A         I don't know.
2                 Q         (BY MR. FINNERAN)             Okay.     And do you
3       believe that the -- it also says (quote as read):
4                       ...a future contingent event not
5                       under his control or influence.
6                           Do you believe the Torch devices
7       allow a player to win or lose money on the basis of
8       a future contingent event not under her control or
9       influence?
10                          MR. CRAIG:        Objection, calls for
11      speculation, legal and technical.
12                Q         (BY MR. FINNERAN)             You may answer.
13                A         I don't know.
14                Q         Okay.    Do you agree with me that the
15      player has no ability to control whether any
16      particular spin of the game will be a winner or a
17      loser for him?
18                          MR. CRAIG:        Objection, speculation,
19      calls for technical and legal expertise.
20                A         I don't know.
21                          MR. FINNERAN:          Okay.        Okay.   I think
22      we've sufficiently covered that.                       Aaron, if you
23      give me five minutes to make sure I haven't missed
24      anything, I will be able to wrap up.
25                          MR. CRAIG:        Absolutely.          Okay.

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1                       THE VIDEOGRAPHER:             Off the record at
2       11:57.
3                       (Off the record.)
4                       THE VIDEOGRAPHER:             We're back on the
5       record, this is media unit number four, the time is
6       12:07.
7                 Q     (BY MR. FINNERAN)             Okay.   We are back
8       on the record.     Miss Miltenberger, thank you again
9       for being here today.         As usual, I'd like to ask
10      and I may not have asked last time, is there
11      anything that, on the break, that makes you want to
12      correct or change any of the testimony you've given
13      today?
14                A     I don't think so.             Thank you.
15                Q     Okay.    Great.        Absolutely.      We want
16      to give you the fair chance to give us your best
17      recollections to things.
18                      So I have a series of somewhat random
19      questions, so they won't be all that connected, but
20      it's -- I'm trying to just get through them
21      quickly.
22                      So first of all, I asked you about
23      the stickers or decals on the devices.                 We can pull
24      it back up if you want to look at it?
25                A     Oh, yeah, I know, yeah.

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                                                           Page 141

1                 Q     Okay.     My question is, is it Torch's
2       policy to put a sticker of that sort on every one
3       of its devices?
4                 A     Yes.
5                 Q     Okay.     I think that you told me you
6       do not typically communicate directly with
7       customers about -- about issues, but are you aware
8       of any communications where customers have raised
9       concerns about the legality of the Torch devices?
10                A     No.
11                Q     You're not aware?
12                A     I'm not aware.
13                Q     Okay.     I may have asked you this
14      question already but forgive me, have you ever been
15      interviewed by any law enforcement official or
16      regulatory official about the Torch devices?
17                A     No.
18                Q     Okay.     Earlier I asked you if you'd
19      reviewed text messages in connection with our
20      Request for Production.           Do you believe that you
21      have any text messages that would relate to Torch
22      or its business?
23                A     No.     I have none.
24                Q     You believe you have none?
25                A     I believe I have none.

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1                 Q     Okay.     I asked you earlier about a
2       company called Accel Entertainment, A-c-c-e-l.                   I
3       believe that your husband at one point had that
4       listed on his LinkedIn profile as an employer of
5       his from January of 2014 to March of 2018?
6                 A     Mm-hmm.
7                 Q     Does that reflect your --
8                       MR. CRAIG:         Is that a yes?       Sorry.
9       Excuse me.
10                A     I'm just agreeing, yeah.
11                      MR. CRAIG:         Not that there's a
12      question --
13                      MR. FINNERAN:           Actually, I was --
14                      MR. CRAIG:         -- there was an mm-hmm.
15      I'm just trying to get --
16                Q     (BY MR. FINNERAN)              I haven't quite
17      asked the question yet.
18                      MR. CRAIG:         Okay.       Sorry.
19                Q     (BY MR. FINNERAN)              So my question is,
20      does that refresh your recollection about the
21      company Accel Entertainment?
22                A     Yes.     I don't remember the question
23      earlier, but yes, he worked for -- for them --
24                Q     Okay.
25                A     -- at those time periods roundabout

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1       yeah.     Yeah.
2                 Q       Yeah.     But my question before was
3       simply if you were aware of such a company, and I
4       don't think you recalled it at that --
5                 A       Oh, that's what it was.
6                 Q       Hopefully I've refreshed your
7       recollection.
8                 A       Yes.
9                 Q       So what do you know of that company?
10                A       They are, um, they're just another --
11      well, they're a gambling business.                     I don't know
12      what you want to, call it gambling or whatever.
13      They're an entertainment company in Illinois.
14                Q       Okay.
15                A       Closer to Chicago area, so.
16                Q       Was he an employee of that company?
17                A       He was an employee.                I think he did
18      the marketing.       Marketing part of that, so.
19                Q       Did that company sell devices that
20      are similar in kind to the Torch devices?
21                        MR. CRAIG:         Object to form.
22                A       I don't know that.
23                Q       (BY MR. FINNERAN)              Okay.    Do you know
24      what the -- do you know what sort of products that
25      company sold or distributed?

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1                 A     Oh, no.      No.
2                 Q     Okay.     What -- you said that he had
3       some involvement in marketing.                Do you have a more
4       understanding of what specifically he did?
5                 A     No.
6                 Q     Okay.     Was that his only occupation
7       during the time of January 2014 to January 2018 was
8       working for Accel Entertainment?
9                 A     Yes, sir.
10                Q     Okay.     Do you know if Mr.
11      Miltenberger has any ownership interest in Accel
12      Entertainment?
13                A     He does not, no.            He does not have
14      any.
15                Q     Okay.     Does -- does -- does
16      Mr. Miltenberger have any contractual relationship
17      today with Accel Entertainment?
18                A     No.
19                Q     Does Mr. Miltenberger have any prior
20      contractual relationship with Accel Entertainment
21      other than his employment?
22                A     No.
23                Q     Okay.     I think this is implicit, but
24      do you have any of those connections with Accel
25      Entertainment?

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1                 A     No.
2                 Q     Have you ever been employed by Accel
3       Entertainment?
4                 A     No.
5                 Q     Does Torch have any common ownership
6       with Accel Entertainment?
7                 A     No.
8                 Q     Okay.     Do you know a person by the
9       name of Sherri Harris?
10                A     No.
11                Q     I'll try to refresh your
12      recollection.     Do you know a person named Sherri
13      Harris who works with Banilla?
14                A     No.     I'm trying to go through my
15      names of Banilla people I know and --
16                Q     Okay.
17                A     -- no.      Sherri Harris or Garris?
18                Q     Oh, I'm sorry, Garris.                My bad.
19                A     Oh, okay, that's why it was taking a
20      second.
21                Q     Okay.
22                A     Yes, I do know her.                I -- alls I know
23      her from is invoicing, though.
24                Q     Okay.
25                A     Yeah.

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1                 Q       What is her role at Banilla?
2                 A       Accounts payable maybe?            Accounting?
3       Yeah.
4                 Q       Does she send you invoices on a
5       regular basis?
6                 A       Just when we've made a purchase, when
7       Torch Electronics has made a purchase, yeah.
8                 Q       Would she be the person who would
9       typically send you an invoice under those
10      circumstances?
11                A       There's three of them.
12                Q       Okay.     Who are the others?
13                A       Kelly, Kelly somebody, and Charity
14      Randolph.       That's all I can remember.
15                Q       Okay.     Does -- does Banilla only
16      invoice -- strike that.
17                        Does Banilla ever invoice Torch on a
18      more regular basis than simply whenever it
19      purchases products from Banilla?
20                A       No, it's just as we purchase.
21                Q       Okay.
22                A       Yeah.     But everything's due at the
23      end of the month and we do a wire and that's how
24      it's taken care of.
25                Q       Okay.     Are you familiar with a

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                                                                Page 147

1       company called Swizzle Stick?
2                 A     No.
3                 Q     Do you recall a company called
4       Swizzle Stick at one point providing any services
5       to Torch?
6                 A     No.
7                 Q     Okay.    Do you know a person by the
8       name of Dan Bryan, B-r-y-a-n, Bryan?
9                 A     No, I'm just thinking of somebody
10      that works for us, but his last name is Grace, so
11      no.
12                Q     Okay.    That's great then.           You
13      mentioned earlier that you have never played a
14      Torch device; is that correct?
15                A     Correct.
16                Q     Is there any reason that you have
17      never played a Torch device?
18                A     No, not really.           I mean, you know, if
19      -- to be honest, if I've played it, it was in the
20      shop and it was just trying it out.                And I really
21      just don't want to be like in the convenient store
22      and playing it and it's -- I'm his wife and that's
23      just, I don't know.        Just the image.
24                      I just don't want to be -- I just
25      want it to be like -- I wanted -- if I wanted to --

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1       I just don't gamble or entertain myself with those
2       kinds of things, so.
3                       MR. FINNERAN:       Okay.       Fair enough.    I
4       believe that concludes my examination.
5                       THE WITNESS:      Awesome.
6                       MR. FINNERAN:       So thank you so much
7       for your time, I really do genuinely appreciate it.
8                       THE WITNESS:      Of course, okay.
9                       MR. FINNERAN:       Aaron?
10                      MR. CRAIG:     I've got nothing.
11                      MR. FINNERAN:       Okay.
12                      THE VIDEOGRAPHER:          We are off the
13      video record at 12:14.
14                      THE WITNESS:      Great.
15                      THE REPORTER:       What would you like to
16      do about signature?
17                      MR. CRAIG:     Yeah, we'll read and
18      sign.
19                      MR. FINNERAN:       And we'll take a rough
20      and a final.
21                      THE REPORTER:       Mr. Craig, do you need
22      a rough draft as well?
23                      MR. CRAIG:     Yeah, that'd be great.
24                      (Wherein, the taking of the instant
25      deposition ceased at 12:14 PM.)

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1                       (Deposition to be read and signed by
2       the witness.)
3
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1                        CERTIFICATE OF REPORTER
2
3                       I, TARA SCHWAKE, a Registered
4       Professional Reporter and Notary Public within and
5       for the State of Missouri, do hereby certify that
6       the witness whose testimony appears in the
7       foregoing deposition was duly sworn by me; that the
8       testimony of said witness was taken by me to the
9       best of my ability and thereafter reduced to
10      typewriting under my direction; that I am neither
11      counsel for, related to, nor employed by any of the
12      parties to the action in which this deposition was
13      taken, and further that I am not a relative or
14      employee of any attorney or counsel employed by the
15      parties thereto, nor financially or otherwise
16      interested in the outcome of the action.
17
18
19                              <%28396,Signature%>
20                              Notary Public in and for
21                              The State of Missouri
22
23
24
25

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1                                  Veritext Legal Solutions
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2                                          Suite 1820
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3                                    Phone: 216-523-1313
4
        December 22, 2023
5
        To: Mr. Craig
6
        Case Name: TNT Amusements, Inc., D/B/A Play-Mor Coin-Op v. Torch
7       Electronics, LLC., Et Al
8       Veritext Reference Number: 6343994
9       Witness:     Sondra Miltenberger           Deposition Date:    12/8/2023
10
        Dear Sir/Madam:
11
12      Enclosed please find a deposition transcript.          Please have the witness
13      review the transcript and note any changes or corrections on the
14      included errata sheet, indicating the page, line number, change, and
15      the reason for the change.     Have the witness’ signature notarized and
16      forward the completed page(s) back to us at the Production address
        shown
17
        above, or email to production-midwest@veritext.com.
18
19      If the errata is not returned within thirty days of your receipt of
20      this letter, the reading and signing will be deemed waived.
21
        Sincerely,
22
        Production Department
23
24
25      NO NOTARY REQUIRED IN CA

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1                            DEPOSITION REVIEW
                        CERTIFICATION OF WITNESS
2
                  ASSIGNMENT REFERENCE NO: 6343994
3                 CASE NAME: TNT Amusements, Inc., D/B/A Play-Mor Coin-Op v.
        Torch Electronics, LLC., Et Al
                  DATE OF DEPOSITION: 12/8/2023
4                 WITNESS' NAME: Sondra Miltenberger
5                 In accordance with the Rules of Civil
           Procedure, I have read the entire transcript of
6          my testimony or it has been read to me.
7                 I have made no changes to the testimony
           as transcribed by the court reporter.
8
           _______________           ________________________
9          Date                      Sondra Miltenberger
10                Sworn to and subscribed before me, a
           Notary Public in and for the State and County,
11         the referenced witness did personally appear
           and acknowledge that:
12
                  They have read the transcript;
13                They signed the foregoing Sworn
                        Statement; and
14                Their execution of this Statement is of
                        their free act and deed.
15
                  I have affixed my name and official seal
16
           this ______ day of_____________________, 20____.
17
                        ___________________________________
18                      Notary Public
19                      ___________________________________
                        Commission Expiration Date
20
21
22
23
24
25

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1                            DEPOSITION REVIEW
                        CERTIFICATION OF WITNESS
2
                  ASSIGNMENT REFERENCE NO: 6343994
3                 CASE NAME: TNT Amusements, Inc., D/B/A Play-Mor Coin-Op v.
        Torch Electronics, LLC., Et Al
                  DATE OF DEPOSITION: 12/8/2023
4                 WITNESS' NAME: Sondra Miltenberger
5                 In accordance with the Rules of Civil
           Procedure, I have read the entire transcript of
6          my testimony or it has been read to me.
7                 I have listed my changes on the attached
           Errata Sheet, listing page and line numbers as
8          well as the reason(s) for the change(s).
9                 I request that these changes be entered
           as part of the record of my testimony.
10
                  I have executed the Errata Sheet, as well
11         as this Certificate, and request and authorize
           that both be appended to the transcript of my
12         testimony and be incorporated therein.
13         _______________           ________________________
           Date                      Sondra Miltenberger
14
                  Sworn to and subscribed before me, a
15         Notary Public in and for the State and County,
           the referenced witness did personally appear
16         and acknowledge that:
17                They have read the transcript;
                  They have listed all of their corrections
18                      in the appended Errata Sheet;
                  They signed the foregoing Sworn
19                      Statement; and
                  Their execution of this Statement is of
20                      their free act and deed.
21                I have affixed my name and official seal
22         this ______ day of_____________________, 20____.
23                      ___________________________________
                        Notary Public
24
                        ___________________________________
25                      Commission Expiration Date

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1                                ERRATA SHEET
                        VERITEXT LEGAL SOLUTIONS MIDWEST
2                           ASSIGNMENT NO: 6343994
3        PAGE/LINE(S) /               CHANGE               /REASON
4        ___________________________________________________
5        ___________________________________________________
6        ___________________________________________________
7        ___________________________________________________
8        ___________________________________________________
9        ___________________________________________________
10       ___________________________________________________
11       ___________________________________________________
12       ___________________________________________________
13       ___________________________________________________
14       ___________________________________________________
15       ___________________________________________________
16       ___________________________________________________
17       ___________________________________________________
18       ___________________________________________________
19
         _______________                ________________________
20       Date                           Sondra Miltenberger
21       SUBSCRIBED AND SWORN TO BEFORE ME THIS ________
22       DAY OF ________________________, 20______ .
23                         ___________________________________
                           Notary Public
24
                           ___________________________________
25                         Commission Expiration Date

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           Federal Rules of Civil Procedure

                        Rule 30



(e) Review By the Witness; Changes.

(1) Review; Statement of Changes. On request by the

deponent or a party before the deposition is

completed, the deponent must be allowed 30 days

after being notified by the officer that the

transcript or recording is available in which:

(A) to review the transcript or recording; and

(B) if there are changes in form or substance, to

sign a statement listing the changes and the

reasons for making them.

(2) Changes Indicated in the Officer's Certificate.

The officer must note in the certificate prescribed

by Rule 30(f)(1) whether a review was requested

and, if so, must attach any changes the deponent

makes during the 30-day period.




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ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

2019.   PLEASE REFER TO THE APPLICABLE FEDERAL RULES

OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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as submitted by the court reporter. Veritext Legal

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